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               EXHIBIT 11
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                                                                          Page 1

 1                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY
 2
        IN RE JOHNSON & JOHNSON             §
 3      TALCUM POWDER PRODUCTS              § MDL NO.:
        MARKETING, SALES                    §
 4      PRACTICES, AND PRODUCTS             § 16-2738(MAS)(RLS)
        LIABILITY LITIGATION                §
 5
 6
 7             *******************************************
 8                  REMOTE VIDEOCONFERENCED DEPOSITION OF
 9                           WILLIAM SAGE, M.D.
10                              APRIL 1, 2024
11             *******************************************
12
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14
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16
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19
20
21
22
23
24
25       Job No. 6485334

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                                                                   Page 2                                                             Page 4
    1     REMOTE VIDEOCONFERENCED DEPOSITION OF WILLIAM                      1               INDEX
    2 SAGE, M.D., produced as a witness at the instance                      2                              PAGE
    3 of the Defendants, and remotely duly sworn by                          3 Appearances                       3
    4 agreement of all counsel, was taken in the                             4
    5 above-styled and numbered cause on April 1, 2024,                      5
    6 from 9:25 a.m. to 12:27 p.m., before Karen L. D.                       6 WILLIAM SAGE, M.D., J.D.
    7 Schoeve, RDR, CRR, RSA, reported remotely by                           7    Examination By Mr. Ewald             8
    8 computerized machine shorthand, pursuant to the                        8    Examination By Dr. Thompson           128
    9 Federal Rules of Civil Procedure and the provisions                    9
   10 stated on the record or attached hereto.                              10
   11                                                                       11 Changes and Signature               131
   12                                                                       12
   13     REPORTER'S NOTE: Please note that due to the                      13 Certified Stenographic
   14 quality of a Zoom videoconference and transmission                    14 Court Reporter's Certificate        133
   15 of data, overspeaking can cause audio distortion                      15
   16 which disrupts the process of preparing a                             16
   17 videoconference transcript.                                           17
   18                                                                       18
   19     Quotation marks are used for clarity and do                       19
   20 not necessarily reflect a direct quote.                               20
   21                                                                       21
   22                                                                       22
   23                                                                       23
   24                                                                       24
   25                                                                       25
                                                                   Page 3                                                             Page 5
    1           APPEARANCES                                                  1            EXHIBIT INDEX
    2    **********************************************                      2
            ALL PARTIES APPEARED REMOTELY VIA ZOOM                               NO.   DESCRIPTION                PAGE
                                                                             3
    3    **********************************************
                                                                               Exhibit 1                         9
    4   FOR THE MDL PLAINTIFFS:                                              4   Curriculum Vitae of William M. Sage,
    5     MARGARET M. THOMPSON, ESQUIRE                                          MD, JD
          BEASLEY ALLEN, P.C.                                                5   (28 pages)
    6     218 Commerce Street                                                6
          Montgomery, Alabama 36104                                            Exhibit 2                        15
    7     T: 800 898.2034                                                    7   Invoice, dated 10/01/21
                                                                                 (1 page)
          F: 888.212.9702
                                                                             8
    8     m.thompsonmd@gmail.com                                               Exhibit 3                        16
    9   FOR THE PLAINTIFF STEERING COMMITTEE:                                9   Invoice, dated 01/15/24
   10     MICHELLE A. PARFITT, ESQUIRE                                           (1 page)
          ASHCRAFT & GEREL                                                  10
   11     701 East Bay Street, Suite 411                                       Exhibit 4                        19
          Charleston, South Carolina 29403                                  11   Amended Rule 26 Expert Report of
   12     T: 843.699.8280                                                        William Sage, MD, JD, dated 11/15/23
                                                                            12   (99 pages)
          F: 850.435.7000
                                                                            13 Exhibit 5                        31
   13     mparfitt@ashcraftlaw.com                                               Amended Rule 26 Expert Report of
   14   FOR PLAINTIFF NEW JERSEY STATE COURT:                               14   William Sage, MD, JD Amended Exhibit B
   15     RICHARD GOLOMB, ESQUIRE                                                - Materials Considered List, dated
          GOLOMB LEGAL                                                      15   03/27/24
   16     130 North 18th Street, 16th Floor                                      (24 pages)
          Philadelphia, Pennsylvania 19103                                  16
   17     T: 215.278.4449                                                      Exhibit 6                        31
                                                                            17   Amended Rule 26 Expert Report of
   18   FOR DEFENDANTS JOHNSON & JOHNSON:
                                                                                 William Sage, MD, JD Second Amended
   19     JOHN EWALD, ESQUIRE                                               18   Exhibit B - Materials Considered List,
          KING & SPALDING LLP                                                    dated 03/27/24
   20     1185 Avenue of the Americas, 34th Floor                           19   (24 pages)
          New York, New York 10036                                          20 Exhibit 7                        32
   21     D: 212.790.5341                                                        Amended Rule 26 Expert Report of
          T: 212.556.2100                                                   21   William Sage, MD, JD Third Amended
                                                                                 Exhibit B - Materials Considered List,
   22     jewald@kslaw.com
                                                                            22   dated 03/31/24
   23                                                                            (24 pages)
        CERTIFIED STENOGRAPHIC COURT REPORTER:                              23
   24    Karen L. D. Schoeve, CRR, RDR, RSA                                 24
   25                                                                       25


                                                                                                                             2 (Pages 2 - 5)
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                                                        Page 6                                                      Page 8
    1 Exhibit 8                        32
        United States Government                                  1             PROCEEDINGS
    2   Accountability Office Report to
        Congressional Requesters, titled                          2            THE COURT REPORTER: If the
    3   "Cosmetic Safety - Better Planning
        Would Enhance FDA Efforts to Implement
                                                                  3       attorneys could please introduce
    4   New Law"
        (77 pages)
                                                                  4       themselves for the record, then I will
    5                                                             5       swear in the witness.
      Exhibit 9                        35
    6   Congressional Research Service                            6            DR. THOMPSON: Hi. This is
        document, titled "FDA Regulation of
    7   Cosmetics and Personal Care Products                      7       Margaret Thompson, with Beasley Allen, for
        Under the Modernization of Cosmetics
    8   Regulation Act of 2022 (MoCRA)"                           8       MDL plaintiffs.
        (25 pages)
    9                                                             9            MS. PARFITT: Michelle Parfitt for
      Exhibit 10                        36
   10   Expert Report of George E. Newman,                       10       the plaintiff steering committee.
        Ph.D., dated 11/15/23
   11   (83 pages)
                                                                 11            MR. EWALD: And John Ewald for J&J.
   12 Exhibit 11                        45                       12            DR. THOMPSON: And while Richard
        White paper titled "IWGACP Scientific
   13   Opinions on Testing Methods for
        Asbestos in Cosmetic Products
                                                                 13       Golomb is not currently -- he will be
   14   Containing Talc"                                         14       joining -- Sir Richard Golomb,
        (31 pages)
   15                                                            15       representing New Jersey State litigation.
      Exhibit 12                        53
   16   MAS report titled "Analysis of                           16            THE COURT REPORTER: Okay. Thank
        Non-Historical J&J's Talcum Powder
   17   Consumer Product Containers and J&J                      17       you, everyone.
        Chinese Historical Talc Retain
   18   Samples," dated 11/17/23                                 18              WILLIAM SAGE M.D.,
        (20 pages)
   19                                                            19   having been first duly sworn to tell the truth, the
      Exhibit 13                        84
   20   FDA Public Meeting transcript, dated
                                                                 20   whole truth, and nothing but the truth, so help him
   21
        02/04/20
        (382 pages)
                                                                 21   God, testified as follows:
   22 Exhibit 14                        104                      22                EXAMINATION
        Johnson & Johnson letter to Windsor
   23   Minerals, Inc, dated 02/23/1978                          23   BY MR. EWALD:
        Bates stamped JNJMX68 000003591 - 3592
   24   Protected Document - Subject to                          24      Q. Good morning, Doctor. Where are you
        Protective Order
   25                                                            25   located today?
                                                        Page 7                                                      Page 9
    1 Exhibit 15                        120                       1      A. Good morning. I am in a hotel room in
        Article in Press, titled                                  2   downtown Fort Worth, Texas.
    2   "Characterization of elongate mineral                     3      Q. And we've discussed this off the record
        particles including talc, amphiboles,
                                                                  4   collectively, but who was in the room with you
    3   and biopyriboles..."
        (17 pages)                                                5   currently?
    4                                                             6      A. Currently, Margaret Thompson.
    5                                                             7      Q. Okay. Let's go ahead and start with your
    6                                                             8   CV. We'll mark that as Exhibit 1. First, let me
    7                                                             9   just pull it up, and you can let me know if it is
    8                                                            10   the current version.
    9                                                            11             (Exhibit 1 marked.)
   10                                                            12   BY MR. EWALD:
   11
   12
                                                                 13      Q. Okay. Doctor, do you see that?
   13                                                            14      A. (Examined exhibit.) I do.
   14                                                            15      Q. And this is what we were provided by
   15                                                            16   plaintiffs' counsel. I'm not sure if there's a
   16                                                            17   date on it anywhere, but is -- does this appear to
   17                                                            18   be the current version of your CV?
   18                                                            19      A. If you don't mind scrolling down to page
   19                                                            20   5, that's an easy check for me.
   20
                                                                 21      Q. Okay. (Scrolling.)
   21
   22                                                            22      A. So far so good.
   23                                                            23      Q. (Scrolling.)
   24                                                            24      A. Stop.
   25                                                            25      Q. (Scrolling.)
                                                                                                         3 (Pages 6 - 9)
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                                                    Page 10                                                     Page 12
    1      A. Stop.                                            1   social service professionals, usually to help
    2      Q. (Complied.)                                      2   patients from vulnerable communities to deal with
    3      A. That one. Yep. That --                           3   what we call "health-harming legal needs." And
    4      Q. Okay.                                            4   these fall in sort of income and insurance,
    5      A. -- that looks like my current CV.                5   education, employment, housing, legal status,
    6      Q. All right. And while we're here it talks         6   whether it's immigration, veteran status or the
    7   about -- where you said "Stop" -- "Book Chapters,"     7   like. And then personal matters which are usually
    8   you're an author on "Private Law as Health Law:        8   matters of family and personal -- and familial
    9   What It Means, Why It Matters, in Health Law As        9   safety. Again, nothing in this has anything to do
   10   Private Law." It's forthcoming later this year;       10   with tort liability or product liability.
   11   is that correct?                                      11      Q. Fair enough. Let's go back to the top of
   12      A. Yes.                                            12   your CV.
   13      Q. And can you just, very briefly, just            13      A. (Complied.)
   14   describe what the nature is of that book chapter?     14      Q. And do you recall -- maybe not a specific
   15      A. This was an invited academic book,              15   date -- but do you recall that you were deposed in
   16   looking at the ways in which U.S. health law is       16   this case, for the first time, back in around
   17   driven by private parties. Very little, if any,       17   September 2021? Does that sound right?
   18   of my book chapter has to do with product             18      A. Absolutely.
   19   liability or tort law. Almost all of it has to do     19      Q. All right.
   20   with system issues in terms of how budgetary          20      A. I think it -- I think it was -- yeah, it
   21   allocations are made, what is done by direct          21   was, like, the last week of September.
   22   government, and what is done indirectly through       22      Q. And not -- wasn't going to be my next
   23   private parties. And it's much more focused on        23   question, but when I -- have you reviewed your
   24   the private parties who comprise the healthcare       24   deposition transcript in preparation for today's
   25   system, such as hospitals and physicians, than on     25   deposition?
                                                    Page 11                                                     Page 13
    1   other private parties.                                 1      A. I have barely skimmed it. It was not a
    2      Q. To the extent that that chapter covers           2   focus of the preparation for today.
    3   product liability litigation, can you give me a        3      Q. All right. Since you were deposed, it
    4   sense of what is discussed?                            4   appears that you have made a change in your work,
    5      A. I suspect almost nothing. I didn't go            5   correct?
    6   back to look at the most recent draft. But that        6      A. Yes.
    7   wasn't the import. This is an overview                 7      Q. All right. Can you describe what
    8   introductory chapter I was invited to contribute       8   prompted the move from the University of Texas to
    9   to a book that's on many topics. I don't think         9   Texas A&M?
   10   any of the chapters, that I recall, are focused on    10      A. I was offered the opportunity to have
   11   product liability or tort liability.                  11   multiple-component academic appointment at A&M and
   12      Q. Thank you. And so now we've moved down          12   to have chancellor's funding to launch a health
   13   to page 7 of the CV under "Articles," and there's     13   policy institute which we call the Institute For
   14   another submitted for publication where you are a     14   Healthcare Access. I remain an academic in terms
   15   coauthor, and it's titled, "Public Investment in      15   of teaching and research, but -- so it's not a
   16   MLP: Why It's Time to be Explicit that Legal Care     16   major career change, but it is a change of
   17   is Health Care."                                      17   University and a great opportunity.
   18           Can you just describe again, very             18      Q. And it does sound like a good
   19   generally, what that article's about?                 19   opportunity, and as a undergraduate and law school
   20      A. Certainly. This was invited by the AMA's        20   graduate of the University of Texas, I won't hold
   21   journal of ethics. It's now gone through most         21   it against you for going to A&M.
   22   stages of editing, and it is provisionally and        22      A. I could make a hook 'em for you
   23   almost finally accepted in the usual course of        23   (demonstrating).
   24   things. Medicolegal partnership is a                  24      Q. Let the record reflect, he just did the
   25   collaboration between medical, legal, and other       25   hook 'em sign. My wife was born in College

                                                                                                   4 (Pages 10 - 13)
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                                                       Page 14                                                    Page 16
    1   Station, so it's about even.                              1      Q. And the (as read) "For" is "Further
    2             But I'm sorry. I don't want to delve            2   research in connection with deposition testimony,
    3   too much into it, but if we're talking about the          3   deposition preparation, and deposition from
    4   teaching component in Texas A&M, how does that            4   July 27th through September 30th, 2021?"
    5   differ, if at all, from what you were teaching in         5            Did I read that correctly?
    6   2021 at the time of your first deposition?                6      A. Yes.
    7      A. It doesn't differ much from what I was              7      Q. And for this time period between
    8   teaching in 2021 because I was a visiting                 8   July 27th to September 30th, 2021, you have billed
    9   professor at George Washington University that            9   a total of 74 hours at your past rate of $800 an
   10   fall, and that's why the deposition was taken in         10   hour for a total of 59,200, correct?
   11   Washington, D.C.                                         11      A. Correct.
   12             I am delighted that with A&M, I get            12      Q. And have you been paid by counsel for
   13   to teach half of 1L class, their required                13   this invoice?
   14   legislation and regulation course, which is the          14      A. For that one, yes.
   15   course I developed and taught for over a decade at       15      Q. Okay. And this reflects preparation for
   16   Columbia Law School, and it's the one that grounds       16   deposition, 46 hours, correct?
   17   my expertise in regulatory theory and in aspects         17      A. That's what it says on the invoice, yes.
   18   of the regulatory state that are central to my           18      Q. And -- all right.
   19   report.                                                  19            We'll mark as Exhibit 3 another
   20      Q. All right. During your first deposition,           20   invoice.
   21   you were asked some questions about the approval         21            (Exhibit 3 marked.)
   22   requirements at University of Texas School of Law        22      A. (Examined exhibit.)
   23   for you to do consulting work. You generally --          23   BY MR. EWALD:
   24   you don't need to remember the specific questions,       24      Q. And this invoice is dated January 15th,
   25   but do you recall being questioned on that?              25   2024, and it covers preparation of amended expert
                                                       Page 15                                                    Page 17
    1      A. Yes.                                                1   report from October 1st through November 15th,
    2      Q. Okay. How, if at all, does the                      2   2023, correct?
    3   guidelines at Texas A&M on consulting work done by        3      A. Yes.
    4   you differ from the time that you were at                 4      Q. And so I want to talk about, before
    5   University of Texas?                                      5   getting into the time that is reflected on this
    6      A. I wouldn't be able to make that                     6   invoice and how you spent it, what, if anything,
    7   comparison for you casually. But I will say that          7   did you do in connection with your work on this
    8   before I did any work on this case, I went -- I           8   case, from the date of your deposition on
    9   reviewed and went through the requirements for            9   September 2021, at some point in time, through the
   10   Texas A&M University and received all the required       10   initial meetings that are reflected here on
   11   approvals.                                               11   October 1st, 2023?
   12      Q. And do all of the fees that you receive            12      A. Oh, I did not do paid work on the case.
   13   in connection with this consulting work still go         13   As I recall, your client had several visits to the
   14   directly to you?                                         14   bankruptcy court during that period. I'm a law
   15      A. Yes.                                               15   professor and health policy academic. I got
   16      Q. And am I correct that your current hourly          16   interested in this topic intensively in
   17   rate is $900 per hour?                                   17   preparation for the first deposition and that
   18      A. Yes.                                               18   work. So obviously, I've -- I followed the case
   19      Q. All right. Okay. Doctor, I want to show            19   and asked occasional questions and seeing what's
   20   you a couple of invoices that we've received from        20   been in the news and looked at, you know,
   21   plaintiffs' counsel. We'll mark as Exhibit 2 this        21   whatever -- whatever was happening in the
   22   invoice dated October 1st, 2021.                         22   regulatory world, largely, as I was preparing
   23            (Exhibit 2 marked.)                             23   academic material for teaching, occasionally, for
   24      A. (Examined exhibit.)                                24   writing.
   25   BY MR. EWALD:                                            25      Q. All right. So then we have this time

                                                                                                      5 (Pages 14 - 17)
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                                                     Page 18                                                    Page 20
    1   period of October 1st through November 15th with        1            THE COURT REPORTER: Yes, ma'am.
    2   two hours in initial meetings and case review.          2            MR. EWALD: All right.
    3   What did you understand what your task was for          3            THE COURT REPORTER: Okay. Sorry
    4   this amended report?                                    4        guys. I couldn't do everything at once
    5      A. Well, I'd love to look at what's stated           5        there.
    6   in the report so that I'm consistent with what's        6            MR. EWALD: No, you do everything
    7   stated in the report in terms of the questions I        7        so well, so it's hard to do any more.
    8   was -- (overtalk distorted audio).                      8            THE COURT REPORTER: All right.
    9      Q. Sure. Happy -- I'm going to pick that up          9        They're admitted, so sorry to interrupt.
   10   and should have asked, do you have any documents       10            Doctor, you may answer.
   11   in front of you?                                       11            THE WITNESS: Thanks.
   12      A. I have -- I have in front of me a binder         12      A. So under "B. Methodology" in paragraph
   13   containing, I believe, all the documents that were     13   11, this, I believe, is unchanged from the first
   14   sent to you as well, but I don't do this often,        14   report. The questions I was asked to address in
   15   and I was a corporate lawyer, not a litigator in       15   the original and the revised report, "What are the
   16   practice. So the rhythms of Zoom teaching are          16   regulatory practices and standards under which
   17   great. The rhythms of Zoom litigation are not.         17   manufacturers of cosmetics operate? and Did
   18   So tell me what you need.                              18   Johnson & Johnson comply with these standards in
   19      Q. No, and that's just a matter of, as we go        19   its general development, manufacture, marketing,
   20   through this, and supplement generally what have       20   and sale of talcum powder products?"
   21   in front of you, of course, we'll work through any     21            And it says, "I was not asked to give
   22   kind of pickups on any side.                           22   an opinion as to whether talcum product -- powder
   23            But do you have a copy of your                23   products cause cancer."
   24   report -- I'm going to put it up on the screen,        24            MR. EWALD: Y'all are having
   25   but I think it'll be helpful if you have it in         25        feedback issues.
                                                     Page 19                                                    Page 21
    1   front of you have, too?                                 1            THE WITNESS: Yes. I --
    2      A. So I do -- I do have it in front of me.           2            DR. THOMPSON: That was Richard.
    3   If you want to put it up on the screen, that's          3       He's fixing it.
    4   great.                                                  4            MR. EWALD: Okay. Cool. No
    5      Q. Okay. Okay. So we'll go ahead and mark            5       worries.
    6   Exhibit 4, the amended expert report of Dr. Sage,       6   BY MR. EWALD:
    7   which is dated November 15th, 2023.                     7      Q. All right. And so --
    8            (Exhibit 4 marked.)                            8      A. So that --
    9      A. (Examined exhibit.)                               9      Q. -- go ahead.
   10   BY MR. EWALD:                                          10      A. I -- I was -- so the amended report,
   11      Q. Okay. Doctor, I'd asked you before               11   after the delay and the progression of these
   12   bringing this up, essentially, what did you            12   cases, was to make sure that my answer remained
   13   understand your task to be with respect to this        13   the same, given developments in information and
   14   amended report?                                        14   particularly given developments in applicable
   15      A. So on page 2 --                                  15   federal law.
   16            THE COURT REPORTER: Excuse --                 16            THE COURT REPORTER: Okay. Sorry
   17       gentlemen, excuse me. I've got people in           17       to interrupt again, but I need you to put
   18       the waiting room I need to let in, and I           18       the document down for me.
   19       can't get to that screen. If you could             19            MR. EWALD: Sure.
   20       please put your document down for me.              20            THE COURT REPORTER: Okay. One
   21            MR. EWALD: Oh. Oh, yeah. Sure.                21       more time.
   22            DR. THOMPSON: That's Richard. And             22            Okay. There you go.
   23       I also left to fix my microphone issue,            23   BY MR. EWALD:
   24       and I'm back on as well so you may have            24      Q. All right. So understanding you
   25       both of us.                                        25   correctly, Doctor, the questions that you were

                                                                                                   6 (Pages 18 - 21)
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                                                   Page 22                                                     Page 24
    1   asked to answer were basically the same from the    1   right?
    2   first report to the second report, fair?            2      A. I don't know what you received from
    3      A. That is correct.                              3   counsel.
    4      Q. All right. And tell me then about your        4      Q. All right. Did you play any role in
    5   process in determining what needed to be updated    5   putting together a reference list for your report?
    6   from your prior report.                             6      A. The role -- yes. The role I played was I
    7      A. My process is the same I would engage in      7   was asked to provide to counsel, to be provided to
    8   in all of my academic work and associated writing,  8   you, documents that I had found on my own that
    9   which meant reading carefully what I had written    9   were relative to my report, and I used it as
   10   before and asking whether there were documents     10   preparation. I sent a -- an e-mail attaching a
   11   that plaintiffs' counsel thought I should review.  11   couple of those, and then I reviewed the list
   12   And most important for this, doing a careful       12   yesterday and noticed something that seemed not to
   13   personal review of publicly available sources,     13   be on the list that I had put in the original
   14   notedly, the modernization of cosmetics before MAC 14   e-mail, so I pointed that out, and I hope and
   15   and associated regulation to the extent that       15   believe you were provided that.
   16   exists.                                            16      Q. I was. Thank you.
   17      Q. All right. And so let's take those           17            On the Longo -- updated Longo report,
   18   separately.                                        18   is that something that you received back in this
   19             The aspect of asking plaintiffs'         19   September 2023 time frame when you were preparing
   20   counsel whether there are any documents that you   20   your amended report?
   21   should review. What, if any, documents were        21      A. This -- I can't recall, actually. I
   22   provided to you in connection with you preparing   22   don't remember the -- I don't remember the date.
   23   the amended report?                                23   So I don't remember whether it was before the
   24      A. The two documents that come to mind were 24       amended report submission or after.
   25   the update of the, I guess, Longo report on        25      Q. And I'll -- well, we'll go through it
                                                   Page 23                                                     Page 25
    1   testing of talcum for presence of asbestos which    1   more in a little bit, but I want to circle back to
    2   was an update of a report I had seen before. I      2   some basics.
    3   also asked regarding marketing practices and the    3            The research you did on your own in
    4   like because that had been an area of relevance of  4   connection with your amended report, can you walk
    5   my report the first time and also an area defined   5   me through generally what that was?
    6   of great academic interest. And I was given a       6       A. Um-hum. There's a leading text on food
    7   report by a Professor Newman that had to do with    7   and drug regulation by Hutt and Grossman and maybe
    8   Johnson & Johnson's marketing.                      8   another author I can't recall. I looked to see if
    9      Q. Okay. And the -- sorry?                       9   they had a section on the modernization's act that
   10      A. I was also -- I was -- I mean, I guess       10   was relevant and found what they had which was
   11   those were things I asked for, which was your      11   minor, so I didn't specify that and there was not
   12   question.                                          12   a lot of development in it. I did the basic
   13      Q. Yes. Yes. And before we get to that          13   research for public documents. I went to the FDA
   14   second bucket of what you found on your own, when, 14   website, read everything they had on what they had
   15   approximately, did you receive the updated Longo 15     done, subsequent to my 2021 involvement in this
   16   report?                                            16   litigation. So that was all, just the FDA website
   17      A. I don't recall. I would have to go back      17   and any FDA website links that were provided
   18   and find the day.                                  18   there.
   19      Q. We'll get to it, but maybe this will ring    19            Then I looked for other government
   20   a bell. I received an amended -- well, let me      20   documents. Found a couple of congressional
   21   withdraw the question.                             21   research service reports. Looked at the 2023 one
   22            I'll represent to you that I've           22   which, as I was looking through it, said that it
   23   received from counsel three different amended      23   was built on the 2022 one, so I did not look
   24   reliance lists -- or reference lists in connection 24   separately at the 2022 one. I found this
   25   with your amended report. Does that sound about    25   government accountability office report. I read

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                                                    Page 26                                                     Page 28
    1   that.                                                  1   testing method for asbestos and talc.
    2            And I think that's -- that's in               2            There were -- the FDA, in my
    3   ess- -- oh, and, of course, you know, pulled the       3   experience, is pretty good on its website at
    4   text of the act. Spent some time trying to figure      4   directing you to their processes and their
    5   out whether there were constituent bills that had      5   documents and their guidances of this or that
    6   gone into the act, but like most federal               6   sort, so there were a number of things to look at.
    7   legislation these days, it was done as a               7      Q. And what is your understanding of,
    8   consolidation app- -- consolidated appropriations      8   currently, the status of the FDA's development of
    9   act, and it was passed at the very end of the year     9   a standardized testing method for presence of
   10   in 2022 in the way that these things often are.       10   asbestos and talc?
   11   And I wasn't able to trace the origin of statutory    11      A. My understanding, absent any attempt to
   12   language, so I just worked directly from what the     12   find out beyond what is publicly available, is
   13   final language was.                                   13   that the interagency working group from a few
   14      Q. Have you reviewed any Johnson & Johnson         14   years ago raised this issue. The Modernization
   15   internal corporate documents since your deposition    15   Act captured it in regulatory language, attached a
   16   in September 2021?                                    16   deadline at the end of 2023 for publication of
   17      A. There were documents referenced in the          17   some type of proposal. I can't remember the exact
   18   Newman report, but I can't recall having reviewed     18   administrative law form of that proposal of a
   19   any internal documents.                               19   standardized testing method for public comment.
   20      Q. And fair to say, as you sit here today,         20   And when I have done searches and looked at the
   21   you don't recall requesting or receiving any          21   FDA website, I do not find any information about
   22   internal Johnson & Johnson corporate documents        22   such a proposal or preliminary standard having
   23   since your deposition that were not reflected on      23   been yet released.
   24   your earlier reliance list?                           24      Q. Okay. And when you say "released," do
   25      A. I don't recall that, no.                        25   you have any understanding as to whether or not
                                                    Page 27                                                     Page 29
    1      Q. Did anyone assist you, apart from                1   FDA has sent a proposed standardized testing
    2   plaintiffs' counsel, in connection with the            2   regulation for presence of asbestos and talc to
    3   preparation of your amended report?                    3   the proper governmental entities for review?
    4      A. No.                                              4      A. I have no knowledge of that.
    5      Q. You talked about one of the things that          5      Q. In preparing your amended expert report
    6   you did on your own was to research what the FDA       6   in this case, was there anything that you were
    7   had done in this area -- cosmetic regulation --        7   asked at the first deposition, that caused you to
    8   since your deposition in September 2021, correct?      8   say to yourself, "I want to look into that
    9      A. Correct.                                         9   further"?
   10      Q. And you have to -- tell me what you             10            DR. THOMPSON: Objection; form.
   11   found. What would you say?                            11      A. I was disturbed in the first deposition
   12      A. I found that --                                 12   by how long the uncertainties and the scientific
   13            DR. THOMPSON: Object to form.                13   knowledge about the risks associated with talcum
   14            You may answer.                              14   powder products had percolated in the regulatory
   15            THE WITNESS: That means I go                 15   debate. So I was attentive to what was happening
   16       ahead?                                            16   with the reform act, and I had told myself at the
   17   BY MR. EWALD:                                         17   time that regardless of whether I had litigation
   18      Q. Yes.                                            18   involvement in this matter subsequently, I would
   19      A. Sorry. This is not intuitive.                   19   pay attention. And as I thought proper for an
   20      Q. No, that's okay.                                20   academic, I would incorporate it into my teaching
   21      A. What I found is the FDA had done quite a        21   and work.
   22   lot. They were doing quite a lot before the           22   BY MR. EWALD:
   23   Modernization Act was finalized, and then the         23      Q. And my question was broad to answer it
   24   passage of the Modernization Act gave them            24   just right. I'll ask a slightly more narrow
   25   specific tasks, notably, developing a standardized    25   question, which is: Is there anything that was

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                                                      Page 30                                                   Page 32
     1   discussed at your first deposition in this case,        1            (Exhibit 7 marked.)
     2   that caused you to conduct further investigation        2      A. (Examined exhibit.)
     3   in preparation for your opinions in your amended        3   BY MR. EWALD:
     4   report?                                                 4      Q. Okay. Doctor, I'll scroll down to the
     5            DR. THOMPSON: Same objection.                  5   last page of Exhibit 7, the third amended
     6       A. As I said in response to your earlier            6   Materials Considered list. There are a couple of
     7   question, I barely skimmed my deposition                7   documents that were highlighted by counsel as new
     8   transcript, so I have very little direct recall.        8   materials that you reviewed. First one I'll ask
     9   There was certainly nothing at the time that made       9   you about is this "United States Government
    10   me feel in the least uncomfortable with any of the     10   Accountability Office, Report to Congressional
    11   opinions I expressed in the preliminary report.        11   Requesters: Cosmetic Safety: Better Planning Would
    12   And, yes, I was seriously interested in this           12   Enhance Update Efforts to Implement New Law,"
    13   matter since. And, you know, I am a health policy      13   December of 2023. And I guess we'll go ahead and
    14   academic, and my work is broad, and my teaching        14   mark that as Exhibit 8.
    15   involves the fundamentals of legislation and           15            (Exhibit 8 marked.)
    16   regulation, so of course, I was interested.            16      A. (Examined exhibit.)
    17   BY MR. EWALD:                                          17   BY MR. EWALD:
    18       Q. Am I correct that you have not provided         18      Q. Doctor, can you tell me what, if
    19   any deposition or trial testimony in any other         19   anything, you are relying on this GA report -- GAO
    20   litigation matter since you provided deposition in     20   report for in connection with the opinions in this
    21   September of 2021?                                     21   case?
    22       A. That's correct.                                 22            DR. THOMPSON: Can we put that on
    23       Q. Have -- since September of 2021, have you       23       the screen or in Chat?
    24   been retained as an expert in any other matter?        24            MR. EWALD: Sure. Sure.
    25       A. No.                                             25            DR. THOMPSON: Okay. We don't have
                                                      Page 31                                                   Page 33
     1      Q. All right.                                        1       a copy of that.
     2             THE WITNESS: I'm going to grab a              2            THE WITNESS: We do.
     3        sip of water, so I'm going to leave my             3            DR. THOMPSON: Do we?
     4        screen.                                            4            THE WITNESS: Yep. That one there.
     5             MR. EWALD: Go for it.                         5            DR. THOMPSON: Oh, yes, we do.
     6   BY MR. EWALD:                                           6       Okay.
     7      Q. Okay. So I'm just gonna go ahead and              7            THE WITNESS: That one we do. The
     8   mark the three different Materials Considered           8       other one we don't.
     9   lists that I have received from counsel in              9   BY MR. EWALD:
    10   connection with your amended report. I will mark       10      Q. All right. Well, it's on the screen
    11   as Exhibit 5 the material -- "Amended Exhibit B -      11   regardless, so --
    12   Materials Considered List" that's dated                12            DR. THOMPSON: Thank you.
    13   March 27th, 2024.                                      13            MR. EWALD: Of course.
    14             (Exhibit 5 marked.)                          14   BY MR. EWALD:
    15      A. (Examined exhibit.)                              15      Q. So, Doctor, I'll reask the question.
    16   BY MR. EWALD:                                          16            Basically, what, if anything, do you
    17      Q. Then I have here as Exhibit 6 the "Second        17   rely on this GAO report, that we've marked as
    18   Amended Exhibit B - Materials Considered List"         18   Exhibit 7, for your opinions in this case?
    19   which has a date of also March 27th, 2024.             19      A. I was very interested in this report when
    20             (Exhibit 6 marked.)                          20   I did my search for government documents because
    21      A. (Examined exhibit.)                              21   it was a December '23 date, and that was, you
    22   BY MR. EWALD:                                          22   know, among other things, the original
    23      Q. Then the "Third Amended Exhibit B -              23   congressional deadline for issuing a preliminary
    24   Materials Considered List," which I received           24   standard.
    25   yesterday, March 31st, 2024.                           25            I've read this document. GAO is now

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     1   called the Government Accountability Office. It's         1   had done in these areas subsequent to my last
     2   what most of us knew was the general accounting           2   deposition. That's the short answer.
     3   office, and so kind of opportunities for                  3      Q. Is there anything you can recall from the
     4   congressional and occasionally other requesters to        4   Nora Wells article that provided you with new
     5   get information about pretty much anything, so I          5   information that you previously weren't aware of,
     6   was interested in what it contained.                      6   that you are relying on in this case?
     7            I discovered that what it contained              7      A. This was an extremely well done, in my
     8   was largely the assessor's opinions of how FDA's          8   view, review of the law and the changes that had
     9   process complied with whatever the standards they         9   been made from the premodernization version of
    10   would apply to kind of good government development       10   cosmetics regulation. It wasn't something that
    11   in terms of staffing, leadership, transparency,          11   drew heavily from outside empirical work or
    12   and things like that. That was interesting to me,        12   scholarly work or any other source that I would
    13   but I didn't rely heavily on it for anything             13   have relied on. So I used it, as I said, as
    14   specific to my report. It was more an impression         14   another way of feeling fully confident that my
    15   I had of the implementation efforts, but I was           15   statements in my report were an accurate
    16   grateful that it existed. If I'm -- I'm pretty           16   reflection of the legal change.
    17   sure, from being able to read it.                        17      Q. All right. Marking as Exhibit 10 the
    18      Q. All right. I'll probably get back to               18   expert report of George Newman, Ph.D., dated
    19   that. But let's talk about the other document on         19   November 15th, 2023.
    20   that page, the one we received last night.               20            (Exhibit 10 marked.)
    21            First, let's go back to the third               21      A. (Examined exhibit.)
    22   amended. The last document that shows up on that         22   BY MR. EWALD:
    23   screen is a Nora Wells "FDA Regulation of                23      Q. And this is something that you reviewed,
    24   Cosmetics and Personal Care Products Under the           24   Doctor, in connection with the preparation of your
    25   Modernization of Cosmetics Regulation Act of 2022.       25   amended report?
                                                        Page 35                                                     Page 37
     1   (MoCRA)."                                                 1      A. This is something I received subsequent
     2           (Exhibit 9 marked.)                               2   to the submission of the revised report but prior
     3     A. (Examined exhibit.)                                  3   to today.
     4   BY MR. EWALD:                                             4      Q. Okay. And when did -- (overtalk
     5     Q. Is that something that you reviewed in               5   distorted audio).
     6   connection with your opinions in this case,               6      A. And I did review it.
     7   Doctor?                                                   7      Q. All right. You said you did review it?
     8     A. Yes.                                                 8      A. Yes.
     9           DR. THOMPSON: And if we could have                9      Q. Great. And when, approximately, did you
    10      that up as well.                                      10   receive a copy of this expert report from
    11           MR. EWALD: Sure.                                 11   Dr. Newman?
    12           DR. THOMPSON: Are these being                    12      A. In the last two weeks or so. I don't
    13      marked as exhibits or --                              13   know more specifically than that.
    14           MR. EWALD: They are. The GAO is                  14      Q. Okay. And how, if at all, does the
    15      Exhibit 8.                                            15   report of Dr. Newman inform the opinions that
    16           DR. THOMPSON: And this is                        16   you're offering in this case?
    17      Exhibit 9? Thank you.                                 17      A. Many of the opinions I offer have to do
    18           MR. EWALD: Of course.                            18   with the informational environment that Johnson &
    19   BY MR. EWALD:                                            19   Johnson has created and maintained around its
    20     Q. What, if anything, did you rely on                  20   talcum powder products and its marketing
    21   Ms. Wells' article we've marked as Exhibit 9 for         21   activities. Both the history of those marketing
    22   your opinions in this case?                              22   activities and more recent versions of those
    23     A. I relied on it as a verification of my              23   marketing activities are directly relevant.
    24   own insights from reading the text of the new law        24      Q. All right. And so because this came in
    25   and from reviewing the FDA's website on what they        25   after your drafting of the amended expert report

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     1   that you've submitted in this case, I'm trying to       1   rely on, but I'm trying to get a sense from you.
     2   get a sense of -- of how, if at all, you were           2   You have the expert report -- amended expert
     3   going to rely on Dr. Newman's report for any of         3   report we've marked as Exhibit 4. If you had to
     4   the specific opinions that you are including in         4   say, "This section is primarily what I'm also
     5   your report.                                            5   relying on Dr. Newman's report to support." That
     6      A. My litigation experience doesn't allow --         6   is what I'm asking.
     7   isn't sufficient to answer that question. My            7            DR. THOMPSON: Object to form.
     8   understanding was that my -- this deposition            8      A. Absolutely. The -- this report is
     9   reflects my opinions about my report up to the          9   relevant to many of the sections that have to do
    10   date of the deposition. I don't know beyond that       10   with Johnson & Johnson's informational obligations
    11   what -- who's supposed to do what, but ...             11   which go to the term of art labeling but also go,
    12      Q. And that's fine. And here's what I'm             12   in general, to their corporate reputation, their
    13   trying to understand is -- if we go back to your       13   stated corporate intent. Representations they've
    14   amended report -- your amended report in this          14   made to -- specifically to consumers and to the
    15   case.                                                  15   broader public about their level of transparency
    16             Let me know when you have it in front        16   and their understanding of risks and uncertainties
    17   of you.                                                17   around their talcum powder products at the time.
    18             THE WITNESS: Where'd my report go?           18            And so, therefore, you know, it goes
    19        It needs to produce -- here we go. Thank          19   to almost all of the material that has to do with
    20        you. No. That's the old one. Thanks.              20   misbranding. It goes to the sections that have to
    21      A. Yes, I have it in front of me.                   21   do with Johnson & Johnson's communications as it
    22   BY MR. EWALD:                                          22   learned various types of scientific information.
    23      Q. For which sections in your expert report         23   And it goes to the section that begins on
    24   are you relying on the opinions contained in           24   paragraph 109 where Johnson & Johnson claims it
    25   Dr. Newman's report?                                   25   has a robust ethics and compliance program that
                                                      Page 39                                                    Page 41
     1      A. Again, your question reflects the report    1 goes above and beyond legal requirements. It goes
     2   as it reflects my opinions as I sit here.         2 to the next section about resistance to testing,
     3   Obviously, I can't rely on a written document     3 though less so to that one. And it goes heavily
     4   dated previously to today on something I've       4 to the sections that have to do with
     5   received subsequently to that date.               5 misrepresentations and the like that Johnson &
     6      Q. I understand. And maybe it was just a       6 Johnson has, in my opinion, made in its marketing
     7   bad question on my part. What I'm trying to       7 material.
     8   figure out is -- you have a --                    8          I'm also very happy to talk about
     9      A. So with that -- with that --                9 specific insights gained from the Newman report,
    10      Q. Yeah. I'm sorry --                         10 if you'd like.
    11             (Speaking simultaneously.)             11 BY MR. EWALD:
    12      A. With that understanding, I'm happy to      12    Q. Yes. So first of all, thank you. That
    13   answer the question.                             13 was an extremely helpful overview. And please --
    14      Q. Yeah. And before you answer, let me just14 if you have certain specific insights in mind from
    15   try to make it a little clearer. I may fail.     15 Newman, what are they?
    16   But, you know, you have a, you know, 32-page 16              DR. THOMPSON: Object to form.
    17   report, and the first question is: I assume that 17    A. Well, you know, in this case, I have to
    18   you are not relying on Dr. Newman's report to 18 say, you know, this protracted resistance by
    19   further support every single opinion contained 19 Johnson & Johnson to honoring its legal and
    20   over these 33 pages, correct?                    20 corporate ethical obligations to be forthcoming
    21             DR. THOMPSON: Object to form.          21 with the public about the risks of talcum powder
    22      A. Correct.                                   22 and the uncertainties in assessing those risks
    23   BY MR. EWALD:                                    23 was, you know, confirmed and made worse for me by
    24      Q. And so I'm not asking you to identify      24 what I read in the Newman report. In particular,
    25   every single paragraph that the report that they 25 the Newman report talks about Johnson & Johnson's
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     1   belief as a corporate matter that perfect trust in  1               For example -- we'll get to it -- but
     2   the maternal child bond transferred to Johnson &    2      you were given testing from Dr. Longo's updated
     3   Johnson as a corporate entity was essential to how  3      report, correct?
     4   the corporation thought about itself and its        4         A. Correct.
     5   long-term business product -- prospects. Excuse     5         Q. Did you ask plaintiffs' counsel for
     6   me. And I have to say, I found a deep and           6      anything that they're aware of, that gives any
     7   disturbing irony in the fact that Johnson &         7      critiques of Dr. Longo's testing that's reflected
     8   Johnson's communications, conduct that was          8      in that report?
     9   intended to preserve that relationship of trust     9         A. In connection with the preparation of my
    10   was accomplished by completely violating that      10      amended report, no.
    11   relationship of trust. I was very -- I mean,       11         Q. No?
    12   there were things in the Newman report that I      12         A. The original report included review of
    13   found incredibly disturbing.                       13      many documents that had both similar and less
    14   BY MR. EWALD:                                      14      similar findings on many levels.
    15      Q. After reading the Newman report -- well,     15         Q. Okay. But with respect to the amended
    16   not "after." Have you spoken with Dr. Newman at 16         report and the testing given to you by Dr. Longo,
    17   any point in time?                                 17      did you not ask from plaintiffs' counsel any
    18      A. No.                                          18      information that is responding to and/or
    19      Q. After reviewing Dr. Newman's report, did     19      critiquing the opinions in the report that you
    20   you ask plaintiffs' counsel to review any          20      received, correct?
    21   additional documents?                              21         A. Correct.
    22      A. To review any additional documents?          22         Q. All right. You also mentioned earlier
    23   Could you give me an example of what you mean by 23        the interagency working group and their efforts
    24   that?                                              24      over the past couple of years, right?
    25      Q. Sure. What I'm trying to get at is you       25         A. Yes.
                                                     Page 43                                                     Page 45
     1   talked about some things that you read in              1      Q. Okay. And amongst other things in your
     2   Dr. Newman's report that concerned you, Fair?          2   amended report, you cite to the white paper that
     3      A. Fair.                                            3   was released in 2021, correct?
     4      Q. Did -- at any point in time after                4      A. Correct.
     5   reviewing Dr. Newman's report, did you ask             5      Q. We will mark as Exhibit 11 the white
     6   plaintiffs' counsel for more information about a       6   paper "IWGACP Scientific Opinions On Testing
     7   particular topic that was raised in Dr. Newman's       7   Methods For Asbestos in Cosmetic Products
     8   report?                                                8   Containing Talc. Interagency Working Group On
     9      A. No.                                              9   Asbestos In Consumer Products," dated
    10      Q. Have you reviewed a report from a               10   December 2021.
    11   Dr. David Kessler in this case?                       11           (Exhibit 11 marked.)
    12      A. No.                                             12   BY MR. EWALD:
    13      Q. In preparing your amended report in this        13      Q. Is this the white paper you're aware of,
    14   case, did you ask plaintiffs' counsel for any         14   sir?
    15   information about the defendant's, Johnson &          15      A. (Examined exhibit.) As best I can tell,
    16   Johnson, position on any particular matter?           16   yes. I don't know if I have a copy in front of
    17            DR. THOMPSON: Object to form.                17   me.
    18      A. I'm not exactly sure how to answer that.        18      Q. Okay. And do you recall citing to this
    19   Could you break that down into categories? I          19   document in your amended report?
    20   mean, for example, I haven't read any Johnson &       20      A. Yes.
    21   Johnson legal motions if you're asking about.         21      Q. Let's look at what you said there. I
    22   BY MR. EWALD:                                         22   believe it is on -- yeah, page 20, paragraph 123.
    23      Q. That's a fair question. And I -- you            23           Let me know when you're there.
    24   know, I would leave aside the sort of legal           24      A. (Complied.) Yes.
    25   motions.                                              25      Q. Okay. And specifically in paragraph 123,

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     1   you discuss the J4-1 method and then go on and           1   in preparing the amended report this year and, I
     2   state, (as read) "The peculiarity of retaining           2   guess, late last year -- that there had been
     3   without reconsideration for nearly half a century        3   legislation. The legislation had included a
     4   the testing method clearly at odds with current          4   direct instruction to the FDA to develop a
     5   science is repeatedly noted in the White Paper           5   standardized method, and this was part of that
     6   issued in late 2021 by the federal government's          6   regulatory story.
     7   Interagency Working Group on Asbestos in Consumer        7   BY MR. EWALD:
     8   Products."                                               8      Q. Do you have any criticisms of the FDA
     9            Did I read that correctly?                      9   white paper?
    10      A. You did.                                          10      A. I didn't read it with criticisms in mind.
    11      Q. All right. And so what are you -- what            11   I read it for context and direction and reform.
    12   are you getting at with that sentence there in          12      Q. And beyond the context that you just
    13   connection with the J4-1 method?                        13   discussed, do -- does the FDA white paper inform
    14      A. In all my work, I take note of time               14   any of your other opinions that you're offering in
    15   frames associated with regulatory change,               15   this case?
    16   particularly scientific regulatory change, and I        16             DR. THOMPSON: Object to form.
    17   always take note of areas where, undoubtedly,           17      A. Certainly. I mean, it informs opinions
    18   science and technology have advanced but                18   on levels of scientific risk, of scientific
    19   regulatory and self-regulatory standards have not,      19   uncertainty regarding the risk, on insufficiency
    20   and that seem to be a very strong example for           20   of the industry-developed standards to reflect the
    21   that.                                                   21   underlying risks and materials. And it supported
    22      Q. Okay.                                             22   various inferences about Johnson & Johnson's lack
    23            DR. THOMPSON: And, Doctor, you                 23   of interest in finding out current scientific fact
    24       need to review that document. If there              24   about its products over this long period of time.
    25       are going to be more questions, you can do          25   So it goes quite directly to many of the opinions
                                                       Page 47                                                    Page 49
     1        that.                                               1   in the report.
     2      A. If there --                                        2   BY MR. EWALD:
     3   BY MR. EWALD:                                            3      Q. And the -- that last point you made,
     4      Q. Certainly.                                         4   the -- going to the Johnson & Johnson's
     5      A. -- if you were planning to ask me, you             5   inferences -- I'm sorry. I don't want to put
     6   know, to find the specific quotes in a document          6   words in your mouth.
     7   that I read first a while back and then reread in        7            The last part you talked about with
     8   direct preparation for the report, I, you know,          8   Johnson & Johnson and how it impacted inferences
     9   would have to take time to do that.                      9   that -- about Johnson & Johnson's testing
    10      Q. Sure. And I may ask more questions about          10   approach. Can you describe what you were -- are
    11   it a little bit later. What I'm trying to figure        11   referring to?
    12   out right now is just kind of the basics. And so        12      A. Again, this is, you know, qualitative,
    13   I understand what you just said.                        13   not quantitative. But my core expertise in
    14              With respect to the white paper, do          14   legislation regulation and its development and
    15   you have any opinions as to the testing methods         15   change in the associated obligations, it matters
    16   that were recommended by the interagency working        16   to me when I see a -- an agency that is newly
    17   group in the December 2021 white paper?                 17   invigorated, whether it's by an FDA finding of
    18              DR. THOMPSON: Object to form.                18   asbestos in a Johnson & Johnson talcum powder
    19      A. My view of the interagency working group          19   sample by congressional hearings, recognizing that
    20   white paper was that it was a clear indication          20   the self-regulatory models of cosmetic regulation
    21   that improvements were necessary in testing             21   were not sufficiently enforced in order for the
    22   methods for asbestos and similar substances that        22   modern risks of the globalized, industrialized
    23   could be harm-producing in cosmetic talc. I don't       23   cosmetic sector to be properly safe. Yes, all of
    24   have specific opinions on what they said. I did         24   this goes to that, but it goes in a qualitative
    25   have the additional knowledge that -- especially        25   fashion.

                                                                                                    13 (Pages 46 - 49)
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                                                    Page 50                                                    Page 52
     1      Q. And then, specifically, you were talking      1        longer than that. Okay.
     2   about Johnson & Johnson's, I guess, lack of, in     2             MR. GOLOMB: Can we -- just before
     3   your mind, of dedication to current testing         3        we go off the record. This is Richard
     4   technologies. Is that a fair understanding of       4        Golomb. I'm here for the State court
     5   what you're saying?                                 5        plaintiffs. I apologize for entering
     6            DR. THOMPSON: Object to form.              6        late. But I just want to make sure the
     7      A. Not exactly.                                  7        record's clear. I'm here now. And I
     8   BY MR. EWALD:                                       8        reserve the right to make objections based
     9      Q. Okay.                                         9        on the coordination order.
    10      A. What I'm concerned with in my expert         10             Can we agree that any objections
    11   report is whether Johnson & Johnson has complied 11          that Ms. Thompson makes applies to the
    12   with its self-regulatory obligations under federal 12        State court as well so my objections will
    13   cosmetics law which I believe it has not. And,     13        be minimal?
    14   particularly, its obligations regarding            14             MR. EWALD: Sure.
    15   information, labeling, warning, and other          15             MR. GOLOMB: Thank you.
    16   communications, and many of those communications 16               MR. EWALD: So I -- and,
    17   have to do with its assertions of having           17        Dr. Thompson, I didn't hear you. Do you
    18   asbestos-free talcum powder products to which this 18        want five or ten?
    19   report goes directly.                              19             DR. THOMPSON: I -- we could
    20      Q. And about to take a break because we've      20        probably do five. We'll just come back as
    21   been going about an hour. But I just want to       21        soon as we're ready. We'll --
    22   finish off this line of questioning.               22             MR. EWALD: Right. It's -- I think
    23            When you say that this white paper        23        my general experience is that when people
    24   goes directly to the asbestos-free talcum powder   24        say "five," they don't get back --
    25   representations by Johnson & Johnson, what do you 25              (Speaking simultaneously.)
                                                    Page 51                                                    Page 53
     1   mean?                                                1              DR. THOMPSON: Yeah. Let's say --
     2             DR. THOMPSON: Objection; form.            2         let's say no more than ten.
     3      A. I mean, that this is a federal                3               MR. EWALD: Let's shoot for five
     4   interagency working group doing, as far as I can    4         but no more than ten. Correct. Thanks.
     5   tell, the most systematic and thoughtful review of  5               DR. THOMPSON: All right. That
     6   the current state of science, in combination with   6         sounds good.
     7   congressional investigations, that led to a         7               THE COURT REPORTER: We're off the
     8   regulatory modernization and reform law. And when 8           record at 10:29.
     9   you put it all together in that way, it's pretty    9               (A recess was taken from 10:29 a.m. to
    10   clear to me that Johnson & Johnson took comfort    10                10:36 a.m.)
    11   that was not justified in stand- -- testing        11               THE COURT REPORTER: And we are
    12   practices for asbestos that were questionable when 12         back on the record at 10:36.
    13   adopted but had been in place for so long that     13    BY MR. EWALD:
    14   they did not keep up with science.                 14       Q. All right. I want to mark as Exhibit 12
    15             MR. EWALD: All right. Like I             15    the new report of -- well, the newest report from
    16        said, we've been going about an hour. I       16    Dr. Longo. Let me just identify it so that we're
    17        was thinking we'd take, like, a five-         17    all on the same page.
    18        minute break. We can take a little bit        18               (Exhibit 12 marked.)
    19        longer if folks need to grab coffee or        19    BY MR. EWALD:
    20        anything like that. Just let me know.         20       Q. All right. So I've shared my screen. I
    21             THE COURT REPORTER: Yeah. Just           21    have what's identified as the "3rd Supplemental
    22        a --                                          22    MDL Report. Analysis of Non-Historical J&J's
    23             THE WITNESS: Whatever you like.          23    Talcum Powder Consumer Product Containers and J&J
    24        Whatever you need.                            24    Chinese Historical Talc Retain Samples,"
    25             THE COURT REPORTER: Just a touch         25    November 17th 2023. It's marked as Exhibit 12.

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     1             Is this, Doctor, the Longo report         1   going to be able to pinpoint a specific day in
     2   that you were referring to that you received?       2   which you received it, I'm trying to get a sense
     3       A. (Examined exhibit.) Yes. This is --          3   -- is -- you get the Dr. Longo November 2023
     4   this is the report that I have looked at most       4   report around the same time you got the Newman
     5   recently.                                           5   report, or is this something that happened a
     6       Q. All right. And I understand that you         6   number of months ago?
     7   previously had received a -- an earlier version of  7      A. I believe it was shortly after I got the
     8   an MDL report from Dr. Longo, and you include that 8    Newman report.
     9   in your amended expert report, correct?             9      Q. All right. And so we're talking roughly
    10       A. Yes.                                        10   a couple weeks ago approximately?
    11       Q. And am I correct that you do not cite to    11      A. I don't know.
    12   this November 17th, 2023, test results in your     12      Q. All right.
    13   amended expert report, correct?                    13      A. What I can -- what I can say is that the
    14       A. I just looked at my amended report, and     14   Newman and the Longo reports were interesting and
    15   it's dated November, 15th and this is dated        15   relevant for me in preparing for today.
    16   November 17th. This doesn't necessarily mean that 16       Q. All right. So then let's talk a little
    17   it's the days we saw things. But, you know, let's  17   bit about the report from Dr. Longo that we've
    18   say that -- well, I'm gonna agree with -- I'm      18   marked as Exhibit 12. And this is something, I
    19   gonna agree with you for now, absent               19   believe you testified earlier today, that
    20   more information.                                  20   plaintiffs' counsel provided to you, correct?
    21       Q. I wasn't sure if they, you know,            21      A. Correct.
    22   successfully created time travel back down at A&M. 22             DR. THOMPSON: And, again, could
    23       A. (Laughing.)                                 23        you put that in Chat or -- he's gonna need
    24       Q. All right. So what I'm trying to figure     24        to review it if you're gonna ask specific
    25   out is -- I asked this a little bit earlier, but   25        questions -- or if you would like to
                                                   Page 55                                                   Page 57
     1   approximately when you did receive it -- so let me  1       review it.
     2   show you just show you something. The -- if I go    2             THE WITNESS: Sure.
     3   back to what we've marked as Exhibit 5, which is    3             DR. THOMPSON: You could have it in
     4   the Amended Exhibit B dated March 27th, 2024, and 4         front of you. I'm just saying.
     5   I show on the screen here, word searching, I get    5             THE WITNESS: Yes.
     6   one hit which is to the 2019 report.                6             MR. EWALD: Okay. It should be in
     7             Do you see that?                          7       the Chat. While people are pulling that
     8      A. Yes.                                          8       up, I will also put it on the screen.
     9      Q. Okay. And then I look at --                   9             THE WITNESS: Thank you. I'm a
    10             MR. EWALD: I'm starting to get a         10       Windows user, and the computer in front of
    11       little feedback somewhere. Maybe Richard?      11       me is a Mac, so I have very few buttons I
    12             MR. GOLOMB: I don't think it's           12       can push without worrying.
    13       feedback as much as it is skipping, it         13             (Speaking simultaneously.)
    14       sounds like.                                   14             THE WITNESS: He'll put it on the
    15             MR. EWALD: All right. I think            15       screen.
    16       it's feedback. All right. We'll                16             DR. THOMPSON: Yeah, but if you
    17       continue.                                      17       want to look at the whole thing, you'll
    18   BY MR. EWALD:                                      18       need it in Chat rather than...
    19      Q. Then if we look at the second amended,       19   BY MR. EWALD:
    20   which we've marked as Exhibit 6, also dated        20      Q. Yeah. At any point in time, Doctor,
    21   March 27, 2024, we then see that it has both the   21   yeah, you want to look at something else, you can
    22   2019 version of the report and the November 2023. 22    either direct me -- I will be your page scroller
    23             Do you see that?                         23   -- or if you want to look on your own with
    24      A. Yes.                                         24   counsel, that's also fine.
    25      Q. Okay. And so understanding you're not        25             Okay. So have you heard anything

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     1   about the November 2023 Longo report before             1   not only Dr. Longo's report, but you would have to
     2   receiving it from counsel?                              2   go search the list, possibly a deposition or
     3      A. "Heard anything" is a little vague in the         3   something else and some statement of expertise at
     4   sense that I think I'm not supposed to tell you         4   the time. Again, you know, what is relevant here
     5   about conversations. But the easy answer to the         5   is that this is a -- a scientific assessment, and
     6   question is I heard there was one and nothing           6   I have no reason to question Dr. Longo's
     7   more.                                                   7   expertise.
     8      Q. All right. Okay. So you received the              8   BY MR. EWALD:
     9   report that we've marked as Exhibit 12. How, if         9      Q. Well, you said that you -- it's not like
    10   at all, does this report from Dr. Longo inform the     10   you said -- well, you indicated relying is not
    11   opinions that you're offering in this case?            11   accepting without thought, so what thought did you
    12      A. It's confirmatory regarding the presence         12   apply to this, Exhibit 12, in reviewing in
    13   of asbestos in talcum powder samples and               13   connection with your opinions in this case?
    14   containers. My understanding was that this was         14             DR. THOMPSON: Object to form;
    15   Dr. Longo's testing of samples that came from          15        asked and answered.
    16   Chinese mines rather than domestic U.S. mines.         16      A. At this point in my involvement with the
    17   And my understanding, if I recall correctly, is        17   subject matter, I have read a number of reports
    18   that Johnson & Johnson started sourcing its            18   that have to do with different testing methods,
    19   talcum -- its talc for talcum powder products from     19   assay methods, microscopy, crystallography,
    20   China in -- somewhere in the early 2000s, I            20   various other things. I find them all interesting
    21   believe, which makes it overall relevant to the        21   to read. This seemed to be a sophisticated method
    22   issues of adulteration and violation of legal          22   brought very recently to bear on a relevant topic,
    23   obligation.                                            23   and I rely on it as any expert would rely on other
    24      Q. What is your understanding of the method         24   peoples' expertise.
    25   of testing that Dr. Longo is using in this report?     25   BY MR. EWALD:
                                                      Page 59                                                    Page 61
     1            DR. THOMPSON: Object to form.                  1      Q. Are you aware of any lab -- testing lab
     2      A. I rely on the methods in the report as            2   outside of MAS that has confirmed the PLM
     3   stated. I don't have detailed recollection of           3   chrysotile findings reflected in this report?
     4   them, and I wouldn't have a way to endorse or           4            DR. THOMPSON: And can you give a
     5   critique them.                                          5       time frame on that?
     6   BY MR. EWALD:                                           6            MR. EWALD: Doesn't matter. It
     7      Q. So if you don't have a way to endorse or          7       does not.
     8   critique the testing methods by Dr. Longo, on what      8   BY MR. EWALD:
     9   basis are you relying on them for your opinions in      9      Q. But go ahead. How would you --
    10   this case?                                             10            (Speaking simultaneously.)
    11            DR. THOMPSON: Object to form.                 11            DR. THOMPSON: Yeah. Are you
    12      A. I rely on them as reflecting the                 12       talking about since November of 2023 when
    13   scientific expertise Dr. Longo brings to this          13       the -- or September of 2023 when the
    14   tasks. The same way I would, you know, rely on         14       report was submitted?
    15   statements of science in a lot of context from a       15            MR. EWALD: Well, as Dr. Longo
    16   lot of sources. "Relying" of course does not mean      16       reflects here, this testing that's
    17   accepting without thought. "Relying" means I           17       contained here was produced in various
    18   found them relevant and scientifically grounded to     18       litigations at various points in time
    19   the extent that I understood them.                     19       before November of 2023. But I will
    20   BY MR. EWALD:                                          20       ask -- so I'm not limiting it to time.
    21      Q. Okay. And so what did you know about             21   BY MR. EWALD:
    22   Dr. Longo's scientific expertise?                      22      Q. I'm asking, Doctor, are you aware of any
    23            DR. THOMPSON: Object to form.                 23   testing lab -- outside of MAS -- that has ever
    24      A. I cannot recall in that -- in preparation        24   validated the PLM chrysotile findings of Dr. Longo
    25   for the original report, I believe I had copies of     25   in this report?

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                                                 Page 62                                                     Page 64
     1         DR. THOMPSON: Object to form. And            1            DR. THOMPSON: Object to form.
     2    that would encompass old ground that could        2      A. This is the only report, in preparation
     3    have been questioned. That was questioned         3   for revising my report in this deposition on this
     4    previously.                                       4   particular testing, that I have read.
     5 BY MR. EWALD:                                        5            I have also read various FDA
     6   Q. Well, I'll go ahead and respond to that         6   statements and other reports on all of their
     7 before you answer, Doctor.                           7   testing from the 2019 finding of asbestos to the
     8         MR. EWALD: Previous to this,                 8   present. I have not focused, other than in this
     9    Dr. Sage had not been relying on any PLM          9   report, on amphibole asbestos versus chrysotile
    10    chrysotile testing of Dr. Longo. He'd            10   asbestos.
    11    only been relying on the report as               11            I also have noted the EPA's recent --
    12    reflected on his prior reliance list which       12   I don't remember if it was a guidance or a
    13    only led to amphibole testing.                   13   regulation -- proposing the complete prohibition
    14         DR. THOMPSON: Your question as --           14   of chrysotile asbestos in consumer products and
    15 BY MR. EWALD:                                       15   occupational exposure. But I -- again, there
    16   Q. So from that side now, Doctor --               16   would be no reason for me, in preparation for my
    17         MR. EWALD: Excuse me?                       17   report, to survey every testing lab. As I said in
    18         DR. THOMPSON: Excuse me. Go                 18   my first deposition, now that I recall, if you'd
    19    ahead, finish.                                   19   like to provide me with something that is contrary
    20         MR. EWALD: What?                            20   to something I state and you would like me to
    21         THE WITNESS: It's a "Go ahead.              21   consider that, I would be happy to do so.
    22    Please finish."                                  22   BY MR. EWALD:
    23         DR. THOMPSON: Yeah. Go ahead and            23      Q. Well, do you -- on that front, do you
    24    finish. I didn't mean to interrupt you.          24   perceive -- well, let me put it back to your
    25         MR. EWALD: Oh, I thought I was              25   academic career in context.
                                                 Page 63                                                     Page 65
     1       done. I'm done that -- are you referring     1              When you are drafting up an article
     2       to -- was that something that was on his     2     for peer-reviewed publication, is it your position
     3       list?                                        3     that you don't need to worry about any potential
     4             DR. THOMPSON: So I think it's --       4     criticisms unless somebody writes a letter to the
     5       the question of whether Dr. Longo's          5     editor?
     6       findings of chrysotile have been confirmed 6                DR. THOMPSON: Object to form.
     7       implies that that would only be since        7        A. I actually spend a lot of time
     8       Dr. Longo's chrysotile findings have been    8     interpreting my own work and anticipating and
     9       available. So the question would be:         9     responding to criticisms of that work. In this
    10       Have there been findings of chrysotile      10     instance, the court questioned regarding testing
    11       from other sources prior to this? And I     11     has to do with the presence of asbestos and
    12       think that would be off-limits.             12     asbestiform fibers in talc and talcum powder
    13             MR. EWALD: Okay. But that's not       13     products and whether Johnson & Johnson has
    14       what I'm asking, and the record will        14     complied with its legal and ethical corporate
    15       reflect when the first Dr. Longo testing    15     obligations, which I conclude that it has not. I
    16       results for chrysotile PLM were made        16     believe that my review of this material, absent
    17       available in litigation which is around     17     something else you would like to show me, is
    18       2020. But, again, my question is not        18     completely consistent with how I would approach
    19       limited to time. So you shouldn't have a    19     this as an academic matter.
    20       problem with it.                            20     BY MR. EWALD:
    21   BY MR. EWALD:                                   21        Q. All right. And just to be clear -- and
    22      Q. My question is: Dr. Sage, are you aware 22       we'll get there. But just to be clear: At no
    23   of any laboratory -- outside of MAS -- that has 23     point in time after receiving and reading this
    24   ever validated Dr. Longo's PLM findings of      24     report from Dr. Longo from 2023 did you ask
    25   chrysotile that are reflected in this report?   25     plaintiffs' counsel, "Can you give me anything

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     1   that may be out there that criticizes the testing      1        DR. THOMPSON: Wait. Okay.
     2   method of Dr. Longo that is reflected in this          2   There's no question on -- there's no
     3   report?"                                               3   question up.
     4      A. It's import- --                                  4        MR. EWALD: I agree with you,
     5            DR. THOMPSON: Object to form.                 5   Dr. Thompson, and I think the only
     6      A. -- it's important to remember here that          6   disagreement we have on that is whether
     7   Johnson & Johnson's legal obligations do not           7   the PLM chrysotile testing that is
     8   require a certainty of anything. They require          8   reflected in this report, which is a
     9   information that is suggestive of risk, and            9   compilation of a number of expert reports
    10   certainly, the presence of asbestos and any sample    10   from Dr. Longo, had previously been
    11   at any time is suggestive of risk. The                11   available before the date of this report,
    12   uncertainty surrounding that risk is also the         12   November 2023. And I am confident that
    13   subjective legal obligation of disclosure by          13   that is the case. I understand that you
    14   Johnson & Johnson. So I stand by my statement.        14   may not be so confident. And so that's
    15   Everything I read here was sufficient to ground my    15   why my question does not have a particular
    16   opinions. I'm happy to look at contrary               16   date.
    17   information, should you like to provide it.           17        But, yes, you are correct. I'm
    18   BY MR. EWALD:                                         18   asking about any validation by any testing
    19      Q. And we'll get there. But --                     19   lab in the world of the findings of
    20            DR. THOMPSON: And, John, the 2019            20   chrysotile by using its PLM testing in
    21       FDA findings and Longo's first report were        21   Dr. Longo -- in this report. That's what
    22       covered in the previous 2021 report in            22   I'm asking.
    23       deposition, so I don't think we can really        23        DR. THOMPSON: And Dr. Sage has
    24       go into anything that's ever happened in          24   already testified that he is not offering
    25       the whole history of asbestos testing             25   any -- any critique or opinions as to
                                                     Page 67                                            Page 69
     1   today.                                      1              Dr. Longo's methods of testing.
     2         MR. EWALD: I don't believe I          2                   MR. EWALD: Oh, I know, but he has
     3   mentioned anything about Longo's 2019       3              also said --
     4   report or the FDA findings. That's what     4                   DR. THOMPSON: But you --
     5   you're talking about.                       5                   (Speaking simultaneously.)
     6         I'm talking about specifically the    6                   MR. EWALD: And, really, as far as
     7   PLM chrysotile findings that are reflected  7              the speaking objections and because we
     8   in the report that Dr. Sage is relying on   8              are -- you know, if you'd like to proceed
     9   for the very first time. I'm asking         9              with my examination, there's been a lot of
    10   questions about that, and I'm going to     10              colloquy with counsel and a lot of
    11   continue asking questions about that.      11              speaking objections on your end. And I
    12 BY MR. EWALD:                                12              appreciate you may not understand the
    13  Q. Okay. So, Doctor --                      13              intricacies and details of this, but I
    14         DR. THOMPSON: But so -- but wait a 14                would like to ask the questions of
    15   minute. You're saying the validation of a 15               Dr. Sage and not of Dr. Thompson, okay?
    16   chrysotile finding by Dr. Longo. If        16                   DR. THOMPSON: Okay. Well, if
    17   you're talking about a validation of       17              you're talking about the methods, it's one
    18   Dr. Longo's findings, it would just be     18              thing. If you're talking about the
    19   since those findings. If you're talking    19              findings of chrysotile, it's another
    20   about others finding chrysotile, then that 20              thing, and -- and so we'll see what the
    21   has been covered previously in 2021 in     21              question is and --
    22   Dr. Sage's deposition report.              22                   MR. EWALD: Yes, we will.
    23         MR. EWALD: I agree with you.         23                   DR. THOMPSON: -- and what his
    24         THE WITNESS: Could I ask, John, if 24                answer is.
    25   it's --                                    25                   MR. EWALD: Okay.
                                                                                           18 (Pages 66 - 69)
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                                                      Page 70                                                    Page 72
     1   BY MR. EWALD:                                           1      Q. Okay. So tell me what you want to say
     2      Q. So, Doctor, before all that, we were              2   about that.
     3   talking about -- well, actually, that's always a        3      A. As I said when we first mentioned this
     4   problem with all the wordy colloquies. I lose my        4   Longo report, my understanding was that this
     5   train of thought. Just give me one moment.              5   report was Chinese-sourced talc as opposed to, I
     6      A. Sure.                                             6   believe, Vermont-sourced talc that it preceded in
     7      Q. Oh, all right. You were talking about             7   Johnson & Johnson's business practices.
     8   self-regulatory obligations, and I sense that you       8      Q. (Scrolling.)
     9   were suggesting that there is some reporting            9      A. All right. Thank you.
    10   obligation from Johnson & Johnson on the findings      10            I see Vermont and Chinese on the --
    11   from Dr. Longo here, regardless of whether or not      11   on the screen. And given that there now is a
    12   they are reliable, scientific findings. Is that        12   roughly 20 year history of Chinese-sourced talc,
    13   your testimony?                                        13   it seemed relevant to me to know what an expert
    14            DR. THOMPSON: Object to form.                 14   laboratory detected in terms of asbestos. My
    15      A. That is not my testimony.                        15   understanding is that the Vermont-sourced talc had
    16   BY MR. EWALD:                                          16   not been tested -- at least by this lab -- for
    17      Q. What is your testimony?                          17   chrysotile serpentine asbestos. And so, yes, that
    18      A. What is my testimony on what point? I'd          18   is, you know, an interesting finding for me. It
    19   be happy to tell you, if it's helpful, what I,         19   is not a dispositive finding in some way, which a
    20   with respect to my report, thought I got out of        20   lot of your questions seem to be kind of centered
    21   the Longo report. But the things that I don't          21   around. That was interesting to me.
    22   talk about are just -- don't have any particular       22            More interesting to me was that the
    23   negative conclusion to them. They're simply            23   overall prevalence, in terms of percentage of
    24   things that did not strike me as important to my       24   samples that had some form of detectable asbestos,
    25   report from this material.                             25   was at least as high in the Chinese sourced talc
                                                      Page 71                                                    Page 73
     1      Q. Okay. I'm going to get to that.                   1   as it was in the Vermont sourced talc, and it
     2            But I'm trying to get a sense of you           2   seemed actually to be significantly higher. I
     3   talked about, in the prior answer, things like          3   believe the Vermont source talc had something like
     4   suggestion of risk and a lack of certainty doesn't      4   68 percent of samples tested, and this one had
     5   really mean -- a lack of ambiguity does not free        5   90 percent of samples tested.
     6   the cosmetic company from reporting the adverse         6            And I also drew the inference that
     7   event, fair?                                            7   asbestiform fibrous talc, not mineral asbestos,
     8            DR. THOMPSON: Object to form.                  8   was prevalent in all of the samples and, you know,
     9      A. As a general matter, fair.                        9   was ubiquitous and, therefore, didn't even bear
    10   BY MR. EWALD:                                          10   reporting. And those were the things that were
    11      Q. Okay. And so I'm trying to get -- from           11   relevant to me, and It really had to do with the
    12   your perspective, you see this expert report from      12   shift in Johnson & Johnson's business practices
    13   Dr. Longo, and it reports chrysotile findings          13   from Vermont to China sourcing and whether that
    14   using PLM. And is this something that need to, in      14   would influence the risk and uncertainty around
    15   your mind, be reported out immediately as a            15   adulteration of talcum powder products. That's
    16   finding of asbestos in Johnson & Johnson talc?         16   it.
    17            DR. THOMPSON: Object to form.                 17       Q. Okay. And you mentioned the difference
    18      A. I don't know what the basis would be for         18   in percentage of positives from 68 percent, which
    19   the reporting out. I don't -- I'm really not sure      19   I believe that's when you -- that's what you
    20   what the question is. Again, I'm happy to tell         20   include in your report for Italy and Vermont,
    21   you in what way this report informs my testimony       21   right?
    22   today, and what it does is give me continued and       22       A. It's what's in my re- -- it's what's in
    23   greater confidence in the adulteration of talcum       23   my report, and it was -- you know, again, no
    24   powder products with asbestos.                         24   number above zero would be reassuring here. So
    25   BY MR. EWALD:                                          25   these are sort of significant findings that don't

                                                                                                   19 (Pages 70 - 73)
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                                                     Page 74                                                    Page 76
     1   seem to me to be sample-dependent.                     1      A. This -- this is --
     2      Q. And --                                           2            MR. EWALD: Thank you for the
     3      A. And I just wanted to make sure that this         3       speaking. We are still in federal court.
     4   later report with Chinese-sourced talc was also        4   BY MR. EWALD:
     5   insignificant nonsample dependent sort of ballpark     5      Q. Dr. Sage, what's your answer?
     6   for my purposes.                                       6      A. This is the statement Dr. Longo puts in
     7      Q. And when you see -- for Chinese talc,            7   the report. I have, you know, the scientific
     8   according to this MAS PLM chrysotile analysis,         8   background to understand something that is, I
     9   93 percent are positive. Does the delta between        9   believe, referring to polarized light microscopy
    10   the 93 percent and the 68 percent of the prior        10   and something -- and I'm not -- I can't right now
    11   findings have any impact whatsoever on your           11   remember what HLS stands for. But, you know,
    12   assessment of the reliability of Dr. Longo's PLM      12   there are liquid sampling analyses and things like
    13   chrysotile analysis?                                  13   that I don't remember.
    14            DR. THOMPSON: Object to form.                14            What I do from this paragraph, when I
    15      A. I don't think you're accurately reading         15   read it and I do recall reading it, was an
    16   the statement here, at least here as you have it      16   impression that it was saying that this was a
    17   on the screen. 40 of the 43 talcum powder samples     17   newly developed method by an academic reputable
    18   from -- with Chinese-sourced talc were positive       18   institution that, to my knowledge, is not
    19   for either amphibole or chrysotile. It doesn't        19   connected to this litigation. That is what I drew
    20   say "for chrysotile" which is what your question      20   from this paragraph.
    21   said.                                                 21   BY MR. EWALD:
    22            With that modification to your               22      Q. Okay. Do you have an understanding as to
    23   question, 68 and 93 are both concerning numbers,      23   whether or not the Colorado School of Mines method
    24   and the difference between them does not affect my    24   has ever been published, peer-reviewed?
    25   opinion.                                              25            DR. THOMPSON: Object to form.
                                                     Page 75                                                    Page 77
     1   BY MR. EWALD:                                      1          A. I have no knowledge one way or the other.
     2      Q. Oh, yeah.                                    2       BY MR. EWALD:
     3            All right. So scrolling up a little       3          Q. Okay. Does that matter to your
     4   bit on the report from Dr. Longo, here we have --  4       assessment as to whether or not it is a reliable
     5   on page 2, you see the second full paragraph.      5       method?
     6   "Also, when the last MDL report was issued, MAS    6                DR. THOMPSON: Object to form.
     7   was not analyzing cosmetic talc samples for        7          A. I'm sorry. If you tell me that the
     8   chrysotile using the heavy liquid separation       8       Colorado School of Mines has developed a testing
     9   sample preparation method. After reviewing the     9       method in its core sweet spot of geological
    10   Colorado School of Mines (CSM) protocol for the   10       science, I am inclined to believe it. I can't say
    11   analysis of chrysotile using a HLS sample         11       more than that.
    12   preparation method with PLM analysis, MAS worked 12        BY MR. EWALD:
    13   on developing a more efficient protocol for the   13          Q. Okay. Well, if we go down a little
    14   detection of chrysotile in cosmetic talc samples. 14       further in the report, it talks about the Colorado
    15   The Colorado School of Mines developed this       15       School of Mines with HLS, heavy liquid separation,
    16   method."                                          16       sample preparation of cosmetic talc. And
    17            Did I read that correctly?               17       specifically talks about documents from the 1970s.
    18      A. Yes.                                        18                Here you see, "The sample preparation
    19      Q. And is that your understanding of the       19       part of the MAS chrysotile analysis is based on
    20   test method that Dr. Longo was using in this      20       the work done by the CSMP in the early 1970's for
    21   report?                                           21       the detection specifically for possible chrysotile
    22            DR. THOMPSON: Objection. He's            22       and amphibole asbestos in J&J sourced Vermont
    23       already testified that he does not have       23       talcum powder."
    24       opinions as to Dr. Longo's testing            24                Do you see that?
    25       methodology.                                  25          A. I do.

                                                                                                 20 (Pages 74 - 77)
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                                               Page 78                                            Page 80
     1         DR. THOMPSON: And, you know, I'm           1   Just let him answer the question.
     2   going to object to this being way beyond         2        MR. EWALD: No. I will not let him
     3   the scope of a amended report submitted in       3   answer the question when his -- when your
     4   September of 2023.                               4   counsel -- your co-counsel keeps on
     5         MR. EWALD: Excuse me? This is              5   interrupting me. So I'm more than happy
     6   a -- this is a testing report that you           6   to proceed, but I want to make clear about
     7   guys showed him a couple weeks ago, that's       7   what plaintiffs' position is in this
     8   not even a report -- let me finish my            8   matter.
     9   answer, please.                                  9        Is it plaintiffs' position that
    10         (Speaking simultaneously.)                10   Mr. Hegarty, who took Day 1 of Dr. Sayta's
    11         MR. EWALD: Do not interrupt me.           11   deposition in 2021, should have questioned
    12   I'll let you give as long a speech as you       12   Dr. Sage about Dr. Longo's chrysotile
    13   want to. I'm not done.                          13   opinions which were not included in the
    14         This is reflecting a report that          14   only report that Dr. -- that Dr. Longo and
    15   was in November 2023, that you provided         15   Dr. Sage received? Is that plaintiffs'
    16   your expert, Mr. Sage -- Dr. Sage.              16   position?
    17   Apologies.                                      17        MR. GOLOMB: We're not here to
    18         THE WITNESS: That's okay.                 18   answer questions. Dr. Sage is here to
    19         MR. EWALD: Two weeks ago --               19   answer questions. Ask your question, and
    20         (Speaking simultaneously.)                20   we'll make an objection when appropriate,
    21         THE WITNESS: When I taught -- when        21   and he can answer.
    22   I taught at Colombia Law School, "Mr." was      22        MR. EWALD: Okay. I will be more
    23   the honorific that was this lack of             23   than happy to proceed when you guys -- if
    24   respect.                                        24   you guys want to just make your objections
    25         MR. EWALD: Right.                         25   to "form" or "asked and answered" and not
                                               Page 79                                            Page 81
     1        THE WITNESS: I didn't know what to 1            always give these long speaking
     2   make with even "professor."                 2        objections. If you're going to continue
     3        MR. EWALD: Nonetheless, something 3             with speaking objections, I'm going to
     4   that is not reflected in his report and     4        continue to say why your speaking
     5   I'm asking him questions about, so how      5        objections do not have any merit. So if
     6   could it possibly be something that is      6        we have an agreement, no speaking
     7   beyond the scope of a report that's         7        objections, I'll agree not to explain why
     8   reflected in September 2023?                8        they're wrong.
     9        DR. THOMPSON: Because this             9              MR. GOLOMB: Just ask your next
    10   information was in previous Longo reports 10         question.
    11   and available at Dr. Sage's previous       11              DR. THOMPSON: Just ask the
    12   deposition and could have been asked about 12        question. But if we're talking about a
    13   then.                                      13        1973 document, and I -- we can certainly
    14        MR. EWALD: All right.                 14        go back and pull that document and see
    15        DR. THOMPSON: To -- with that         15        whether it was covered in all sorts of --
    16   caveat and his statement that he's not     16        whether it's Hopkins or other J&J expert
    17   commenting at all on any methodology or 17           or 30(b)(6) witnesses, et cetera. I don't
    18   giving opinions, we can proceed, I         18        think it's worth taking the time to do
    19   suppose.                                   19        that. So he can answer, but I do -- would
    20        MR. EWALD: Okay. And I just want 20             still take the position that -- that a
    21   to be clear. Is it your position that      21        1973 document about asbestos is in the
    22   I --                                       22        scope of what this deposition should be
    23        (Speaking simultaneously.)            23        about today.
    24        MR. GOLOMB: Wait. Wait. Is there 24                   MR. EWALD: Okay. So -- and I
    25   a question on the table? Let him answer.   25        genuinely do not remember, Madam Court
                                                                                     21 (Pages 78 - 81)
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                                                    Page 82                                                     Page 84
     1       Reporter, what the pending question was,          1      Q. Is that something you looked at in
     2       if there was one. Would you mind trying           2   connection with your amended report?
     3       to find it after all those pages of               3      A. No.
     4       colloquy?                                         4      Q. Okay. Do you recall whether or not
     5            THE COURT REPORTER: Yes, sir. It             5   Dr. Longo presented any of his PLM chrysotile
     6       will take me a minute.                            6   heavy liquid separation findings at that
     7            MR. EWALD: No problem.                       7   February 4th, 2020, meeting?
     8            THE COURT REPORTER: The last                 8            DR. THOMPSON: Object to form.
     9       pending question I have has to do with            9      A. I don't recall.
    10       reading the section in the Colorado School       10   BY MR. EWALD:
    11       of Mines with the HSL, heavy liquid              11      Q. Okay.
    12       separation. You read that paragraph. And         12      A. I do remember going through that public
    13       then you said, "Do you see that?" And he         13   meeting material at the time, but I don't remember
    14       said, "I do." And then the objections            14   any of the --
    15       started. Do you want me to --                    15      Q. Sure. All right. And we'll mark as
    16            MR. EWALD: Well, thanks.                    16   Exhibit 13.
    17            THE COURT REPORTER: Okay. Thank             17            (Exhibit 13 marked.)
    18       you.                                             18   BY MR. EWALD:
    19   BY MR. EWALD:                                        19      Q. Here we have the February 4th, 2020,
    20      Q. So my only follow-up question on that,         20   transcript of the meeting we were just referring
    21   Doctor, is you had mentioned that you thought it     21   to, and I just have a couple of questions on this
    22   was a recent Colorado School of Mines method.        22   one, Doctor.
    23   This, at least, is -- saying 1970s. Do you have      23            First of all --
    24   an understanding, one way or another, which is       24            DR. THOMPSON: If you can put that
    25   right?                                               25        in Chat also --
                                                    Page 83                                                     Page 85
     1      A. All right. That's what I thought you          1              MR. EWALD: Sure.
     2   were -- you're getting at with the question.        2              DR. THOMPSON: -- so that he can --
     3             So if the thing is my prior answer is     3         we can see the entire document.
     4   that I read the introduction to suggest that this   4              MR. EWALD: No problem. Just a
     5   was a recent method, you've now shown me a part of 5          moment because it's a long document.
     6   the report that says at least part of it is not a   6              THE WITNESS: No worries.
     7   recent method. But the difference between is not    7     BY MR. EWALD:
     8   something that I considered earlier, and I cannot   8        Q. And while we're doing that, actually, as
     9   imagine that it would change the way in which this  9     a general matter, Doctor, do you have an
    10   report bears on my opinion. Painful as that was.   10     understanding as to what the purpose of that
    11      Q. Okay. So you, in your report, mention        11     February 4th, 2020, meeting with the FDA was?
    12   the -- let's pull up here -- okay. I'm going back  12        A. I cannot recall right now what that
    13   to your Materials Considered list, Doctor. This    13     purpose was.
    14   would be, again, the third amended, Exhibit 7.     14              MR. EWALD: Okay. I'm getting an
    15   And amongst the materials that you see here, you   15         error message when I try to attach it.
    16   have the "U.S. Food and Drug Administration Public 16              THE WITNESS: I'm just going to
    17   Meeting: Testing Methods for Asbestos in Talc and 17          stand up for a moment.
    18   Cosmetic Products Containing Talc," February 4th 18       BY MR. EWALD:
    19   of 2020.                                           19        Q. Let's go ahead now. It's a document --
    20             Do you see that, Doctor?                 20              MR. EWALD: Why don't we just take
    21      A. Yes.                                         21         a five-minute break? And then we can get
    22      Q. And that's something -- a testimony,         22         it sorted out by then.
    23   something that you considered in preparing your    23              DR. THOMPSON: Excuse me. Can you
    24   earlier report, correct?                           24         give me the Bates number or the name of
    25      A. Yes.                                         25         that document you're gonna put up?

                                                                                                 22 (Pages 82 - 85)
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                                                     Page 86                                                     Page 88
     1             MR. EWALD: It's -- there's not a             1            MR. EWALD: And I'm relating it to
     2        Bates number. It's the direct link from           2        something they concluded in the Zoom
     3        his Materials Considered list --                  3        deposition -- in the new report.
     4             DR. THOMPSON: Okay.                          4   BY MR. EWALD:
     5             MR. EWALD: -- with the FDA                   5      Q. Go ahead.
     6        website.                                          6      A. I reviewed this in connection with the
     7             DR. THOMPSON: FDA website?                   7   first report. I did not look at it again in
     8             MR. EWALD: Yep.                              8   connection with the second.
     9             THE COURT REPORTER: All right.               9   BY MR. EWALD:
    10        We're off the record at 11:21 here.              10      Q. All right. And as you sit here today,
    11             (A recess was taken from 11:21 a.m. to      11   you have no reliable understanding as to the
    12              11:26 a.m.)                                12   purpose of this February 4th, 2020, meeting?
    13             THE COURT REPORTER: We're back on           13            DR. THOMPSON: Object to form.
    14        the record at 11:26.                             14      A. You just read me the statement in
    15   BY MR. EWALD:                                         15   convening the meeting by the convenor. I have no
    16       Q. Okay. Thanks for the break. I was able         16   reason to doubt that.
    17   to sort out the current issue. I uploaded in the      17   BY MR. EWALD:
    18   Chat both the February 4th, 2020, transcript of       18      Q. Okay.
    19   the FDA meeting, also the -- just so you have         19      A. This meeting is, as you know, one step in
    20   it -- the FDA interagency white paper,                20   a long chain that, among other things, resulted in
    21   December 2021.                                        21   a direct congressional instruction to FDA to
    22             The -- going back do Exhibit 13 which       22   develop a standardized testing method.
    23   is the transcript.                                    23      Q. Understood. Okay. So -- and, of course,
    24       A. You want me to click on these? Or will         24   when I try to search it, it's crashing my Adobe.
    25   you show them to me?                                  25   Hold on one second.
                                                     Page 87                                                     Page 89
     1      Q. I'm going to show it, and you're welcome         1            All right. Now, Doctor, we're on
     2   to spend as much time as you want looking at it.       2   page 176 of the transcript, and do you see that
     3   I'm just going to -- I'm really going to ask you       3   Ms. Kari Barrett, the convenor, as you said, is
     4   two questions about two parts. That doesn't mean       4   introducing William Longo?
     5   that you can -- can't look at the other parts.         5            Do you see that, sir?
     6             But I first want to direct your              6      A. I do.
     7   attention to page 3, and we see comments from          7      Q. And he starts off his comments, after
     8   Ms. Kari Barrett, and she says, "The purpose of        8   introducing himself, with the statement, "I would
     9   today's public meeting is to discuss and obtain        9   like to comment today on the research that we have
    10   scientific information on topics related to           10   done using heavy liquid separation for both
    11   testing methods for asbestos in talc and cosmetic     11   amphibole asbestos, as well as our chrysotile
    12   products containing talc. We expect this meeting      12   asbestos that we have recently cracked the code,
    13   to be an important step in our continued efforts      13   so to speak, where we can now do both."
    14   to gather information on this topic, and we thank     14            Did I read that correctly?
    15   all thank of you in the room and online for           15      A. Yes.
    16   joining us today."                                    16      Q. And with respect to his representation in
    17             First, did I read that correctly?           17   February 2020 to the FDA in this public forum that
    18      A. (Examined exhibit.) Yes.                        18   they have "cracked the code" on heavy liquid
    19      Q. All right. And is that generally                19   separation for chrysotile asbestos, in your review
    20   consistent with your understanding of what the        20   of the December 2021 white paper from the
    21   February 4th, 2020, meeting from the FDA was          21   interagency working group, did they adopt the
    22   geared towards?                                       22   heavy liquid separation chrysotile method
    23             DR. THOMPSON: Object to form. And           23   discussed by Dr. Longo?
    24        this was included in his original report         24            DR. THOMPSON: Object to form.
    25        in deposition.                                   25      A. I do not know. I do not recall. Again,

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                                                     Page 90                                                  Page 92
     1   you're pointing out steps in a process that led     1         A. Yes.
     2   from acceptance in the 1970s of an industry         2         Q. And looking through these specific
     3   proposed testing approach to a congressional        3      opinions that are recommended by IWGACP, do you
     4   mandate in 2022 for FDA to finalize, by federal     4      see any reference to a adoption of a chrysotile
     5   regulation, a testing approach. I am shocked it     5      heavy liquid separation method?
     6   took that long to deal with something that          6         A. Would you like to --
     7   everyone understands causes cancer. But it did.     7                DR. THOMPSON: Object to form.
     8            I am not quite understanding where         8         A. Would you like to go through them one by
     9   your questions are directed in terms of a           9      one as I read them? I have no other basis for
    10   particular FDA meeting and interagency working     10      forming an opinion as to what's in the document
    11   group. I will repeat, I have had no direct --      11      beyond using the document.
    12   I've had no contact of any sort with the officials 12      BY MR. EWALD:
    13   participating in this or personal contact with the 13         Q. Sure.
    14   people testifying in this.                         14         A. Okay. So -- actually, would you scroll
    15   BY MR. EWALD:                                      15      up a little bit so I can see how they frame this
    16      Q. Okay. And I wasn't suggesting that you       16      list --
    17   had.                                               17         Q. (Complied.) Sure.
    18            My question is: You've read -- and        18                (Speaking simultaneously.)
    19   you cite in your most recent report the            19                DR. THOMPSON: And if you want to
    20   December 2021 interagency white paper, correct?    20           go off the record and look at the entire
    21      A. Yes.                                         21           document, you're permitted to do that.
    22      Q. Okay. And my question is: In that            22         A. "opinions and related advice." Okay.
    23   report where there are recommendations made, does 23       Now I see what they are trying to do. (Examined
    24   the interagency working group recommend the use of 24      exhibit.) Could there be something beyond
    25   heavy liquid separation for chrysotile asbestos,   25      Number 5?
                                                     Page 91                                                  Page 93
     1   based on Dr. Longo's supposedly "crack the code"       1   BY MR. EWALD:
     2   method that he described in February 2020?             2      Q. There is.
     3             DR. THOMPSON: And object to form.            3      A. Thank you for showing it to me.
     4        And if you're talking about the                   4      Q. I wasn't sure you were done. Just tell
     5        interagency working group, we need to have        5   me where to scroll. I'll scroll.
     6        that document up.                                 6      A. Okay. (Examined exhibit.) I do not see
     7             MR. EWALD: We'll get there.                  7   any reference in this list of eight items to heavy
     8      A. In answering your question, I do not             8   liquid separation.
     9   recall, but I imagine you will show me.                9      Q. Okay. I do want to talk a little bit
    10   BY MR. EWALD:                                         10   about -- did you recommend -- you do recommend
    11      Q. All right. So now I put the interagency         11   here, am I correct, "Use both PLM and TEM methods
    12   working group in the Box where it had previously      12   to identify/report, at minimum, the presence
    13   been marked as Exhibit 11. I'll also put it up on     13   asbestos, other amphibole minerals, and talc
    14   the screen here.                                      14   particles exhibiting non-platy morphology,"
    15             Okay. So here we have the white             15   correct?
    16   paper cited in your amended report and goes down      16      A. Yes.
    17   to, "Through its deliberations" -- we're on the       17      Q. And this is something that you talked
    18   page, for the record, 5 -- "the IWGACP developed      18   about in your amended report. If you go a little
    19   the following scientific opinions and related         19   bit up, it's talking about the J4-1 method, and
    20   advice to help ensure reliable detection and          20   that's something that is discussed, correct?
    21   comprehensive reporting of asbestos and other         21      A. The J4-1 method is discussed.
    22   amphibole particles when testing cosmetic products    22      Q. All right. And this white paper talks
    23   containing talc and talc intended for use in          23   about how -- with a J4-1 method relies on
    24   cosmetics."                                           24   "screening techniques, [X-ray diffraction (XRD) or
    25             Did I read that correctly?                  25   infrared (IR) spectroscopy] and requires optical

                                                                                                 24 (Pages 90 - 93)
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                                                       Page 94                                                    Page 96
     1   microscopy [i.e. polarized light microscopy] only        1       paragraph that he's discussing this white
     2   if the screening test is positive."                      2       paper. And I would appreciate you don't
     3            That's what it reads, correct?                  3       interrupt the witness mid answer.
     4       A. (Examined exhibit.) Yes.                          4            DR. THOMPSON: I apologize -- I
     5       Q. And it goes on to say that, "These two            5       apologize for interrupting the witness. I
     6   published protocols have long-recognized                 6       didn't realize I was doing it.
     7   shortcomings and specificity and sensitivity to          7   BY MR. EWALD:
     8   detect the presence of asbestos and similar              8      Q. Doctor --
     9   mineral particles that may pose a health concern         9            DR. THOMPSON: You can go ahead and
    10   (see Appendix F)."                                      10       answer. My fault.
    11            And it goes on to say, "For example,           11      A. What my expert impressions are -- my
    12   recent testing in cosmetics by a private                12   expert opinions are -- have to do with regulatory
    13   laboratory under contract with FDA using                13   stasis. Has to do with a self-regulatory regime
    14   transmission electron microscopy (TEM) revealed         14   that was reliant on an industry process, an
    15   the presence of asbestos in samples that had            15   industry process that has been called into
    16   negative findings for the same products using PLM,      16   question in many ways.
    17   highlighting the shortcomings of optical                17            And then for whatever reasons,
    18   microscopy methods," correct?                           18   whether they be budgetary concerns, issues of
    19       A. It says that.                                    19   institutional capacity at the time, or
    20       Q. And it goes on to say, "Thus, the                20   interventions by the regulated parties, there is
    21   Interagency Working Group on Asbestos in Consumer       21   essentially no progress in asbestos testing
    22   Products (IWGACP) advises that electron                 22   methods for talc during a long period when
    23   microscopy-based methods are preferred where the        23   asbestos is known to be a carcinogen-including,
    24   objective is to determine if asbestos is present,"      24   with respect to ovarian cancer.
    25   correct?                                                25            And then breaking out from that
                                                       Page 95                                                    Page 97
     1      A. I'm sorry. The "determine is best," I'm            1   recent stasis -- from that stasis in recent years,
     2   not seeing it as a --                                    2   through a combination of things, which include the
     3            (Speaking simultaneously.)                      3   convening of the working group, the working group
     4      Q. "determine if" --                                  4   report, subsequent actions by other regulatory
     5      A. -- "is present." I'm sorry.                        5   agencies, the cosmetics regulation Modernization
     6      Q. "asbestos." I was talking too fast.                6   Act, the congressional directive.
     7      A. I'm sorry.                                         7            And then we shall see what comes out
     8      Q. Yeah, that's not your fault.                       8   of that directive, if and when -- I will say, when
     9      A. That's --                                          9   FDA actually publishes a proposed testing method.
    10      Q. That's what it reads, right?                      10   At which point, I would consider that regulation,
    11      A. That's -- yes. That's what it says.               11   though not incontestable -- and I am sure that
    12      Q. All right. And -- and you talk about              12   your client as -- well as other parties -- will
    13   this in your amended report, right? That the J4-1       13   make plenty of public comments on whatever is
    14   method, the white paper states that it is               14   proposed.
    15   inadequate and that it should use TEM in addition       15            But at that point, I think we can
    16   to PLM, correct?                                        16   reengage this methodological question. I don't
    17      A. I don't believe I say anything that               17   see what I can add to your -- your store of
    18   specific about testing methods in my report.            18   knowledge from this text that the -- you know, in
    19      Q. Okay.                                             19   the way it's being presented to me.
    20      A. I do -- what I talk about --                      20   BY MR. EWALD:
    21            DR. THOMPSON: Did -- again, we're              21      Q. Well, and this is -- I'm not looking for
    22       using his 2021 report. I just want to put           22   you to add to my store of knowledge. I'm looking
    23       that on the record.                                 23   to have an understanding of what you understand
    24            MR. EWALD: I'm talking about his               24   and the basis for your expert opinions in this
    25       amended 2023 report which is the same               25   case.

                                                                                                    25 (Pages 94 - 97)
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     1            And so you're citing to the white          1         we're -- we marked as Exhibit 4. And this is the
     2   paper, and I want to make sure that we're on the    2         paragraph that we were talking about. On
     3   same page, that what the white paper recommends is 3          paragraph 123, that refers to the J4-1 method, and
     4   that you don't just use PLM, you also use TEM,      4         the white paper -- or repealing noting --
     5   correct?                                            5         according to your paragraph of the "peculiarity of
     6            DR. THOMPSON: Object to form.              6         retaining without considera- -- reconsideration
     7      A. That is what you have shown me. That is       7         for nearly half a century a testing method clearly
     8   a level of detail. I do know what a transmission    8         at odds with current science."
     9   as opposed to a scanning electron microscope can    9                  That's what you state, correct?
    10   do. I know a little bit about, you know, geologic  10            A. Yes.
    11   crystal formation and plate structures for various 11            Q. Okay. And you go on to state in 124, "At
    12   minerals -- not a lot -- might. I know much more   12         no point has the FDA issued any regulation
    13   about the biomedical side of these things.         13         dictating testing specifications for detecting
    14            But I'm here as an expert in              14         asbestos and talc and instead has relied on
    15   regulation, regulatory obligation, particularly    15         industry substantiation of safety. Recognizing
    16   information in self-regulatory methods. We can     16         the inadequacy of the situation given industry's
    17   talk about this. I'm very happy to. I certainly    17         poor track record of incorporating established
    18   will renew the offer -- if there is something that 18         science into testing talc-based cosmetic products
    19   you think refutes my opinions regarding regulatory 19         for potentially harmful components or contaminants
    20   stasis and emergence from regulatory stasis, I am  20         the Regulation Modernization Act requires FDA to
    21   absolutely willing to look at it.                  21         develop and issue regulations for asbestos
    22   BY MR. EWALD:                                      22         testing."
    23      Q. And we're getting there.                     23                  That -- that's your opinion, and that
    24            So the -- you would agree with me         24         we've talked about earlier today, correct?
    25   that the -- at least for the white paper, the      25            A. Correct.
                                                        Page 99                                                   Page 101
     1   understanding -- the FDA's understanding of the           1      Q. Okay. And then you conclude, on the
     2   J4-1 method included XRD or infrared and PLM,             2   basis of the foregoing, that, "In sum, Johnson &
     3   correct? That's what it states?                           3   Johnson manipulated asbestos testing and
     4            DR. THOMPSON: Objection; form.                   4   associated publicity so that 'none detectable'
     5      A. I do not know the answer to that without            5   would be interpreted as 'none,' distancing itself
     6   additional research. I will note that the                 6   from allegations of asbestos contamination but
     7   interagency working group does not say, "We               7   never actually eliminating asbestos
     8   endorse the J4-1 method."                                 8   contamination."
     9   BY MR. EWALD:                                             9            That's your concluding sentence in
    10      Q. I didn't say that they did.                        10   paragraph 125, correct?
    11            I'm saying that what the white paper            11      A. Correct.
    12   that you cite in your report states, the testing         12      Q. All right. When you're preparing your
    13   method used for the J4-1 method were XRD or IR and       13   amended report and you're looking at the white
    14   PLM. That's what it states right here, right?            14   paper, did you conduct any research to understand
    15            DR. THOMPSON: Object to form.                   15   what testing methods Johnson & Johnson actually
    16      A. I would have to do additional review               16   used?
    17   specific to which testing methods come in which          17            DR. THOMPSON: Object to form.
    18   report at which time.                                    18      A. I conducted no additional review of those
    19   BY MR. EWALD:                                            19   matters, beyond what I might have done in
    20      Q. Okay.                                              20   connection with the first report.
    21      A. If you'd like me to do that, I guess we            21   BY MR. EWALD:
    22   can set aside some time for doing it.                    22      Q. Right. And if we look at the first
    23      Q. Not -- won't be necessary.                         23   report -- I'm sorry. If we look at the earlier
    24            I want to put back up your amended              24   paragraph, which appears in the first report, you
    25   report. Okay. Back to the amended report                 25   have certain documents -- internal J&J documents

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     1   -- in the early '70s time frame, correct?              1   bottom, JNJMX68 and then 3591.
     2      A. Yes.                                             2            (Exhibit 14 marked.)
     3      Q. And those are all documents that are             3      A. (Examined exhibit.)
     4   provided to you by plaintiffs' counsel, correct?       4            DR. THOMPSON: And I'm going to
     5      A. Some may have been from publicly                 5       object to a 1978 document in this
     6   available sources, but the majority were likely        6       deposition --
     7   from plaintiffs' counsel.                              7            MR. EWALD: Okay.
     8      Q. And that's fair.                                 8            DR. THOMPSON: -- which is covered
     9            So here if we're seeing what -- I'm           9       in his amended report and additional
    10   not sure if corporate attorneys -- I don't mean       10       reliance.
    11   any disrespect. Do you know what a Bates number       11            MR. EWALD: Okay. Objection noted.
    12   is?                                                   12   BY MR. EWALD:
    13      A. Only in passing, to be honest.                  13      Q. Dr. Sage, have you seen this before?
    14      Q. On these par- -- on these footnotes, you        14      A. I don't recall.
    15   do have 33, the Hutt article, but which is a          15            DR. THOMPSON: We'll see what
    16   publicly available source, correct?                   16       that -- we'll see what the question is.
    17      A. Yes.                                            17      A. I don't recall.
    18      Q. Okay. But if we're talking about J&J            18   BY MR. EWALD:
    19   Bates number documents in 30, 31, 32, those are       19      Q. All right. Well, this is, you see, a --
    20   the things that you would have received from          20   it has a Johnson & Johnson header -- letterhead,
    21   plaintiffs' counsel, fair?                            21   rather, dated February 23rd, 1978, and it's to
    22      A. I'll take your word for it.                     22   R.N. Miller, president of Windsor Minerals.
    23      Q. Okay.                                           23            Do you know who Windsor Minerals are?
    24            DR. THOMPSON: Are we going to have           24      A. I don't. But I see "Vermont," so let me
    25        something that's relevant to the amended         25   assume it's somebody has to do with the mine.
                                                    Page 103                                                  Page 105
     1       report and reliance?                               1      Q. And that assumption would be correct.
     2            MR. EWALD: Yes, we are. Yes.                  2            And it says, "As you know, Windsor
     3   BY MR. EWALD:                                          3   Minerals and the Baby Products Company have
     4      Q. So in connection with your amended report        4   already authorized the documentation of a 'no
     5   and looking at the white paper and talking             5   detectable asbestos' requirement in the Windsor 66
     6   about -- well, you -- you called it a "systematic      6   Talc Material Specification. In this regard, the
     7   thoughtful review," right?                             7   testing requirement is solely for fibrous
     8      A. I'm sorry? Say again.                            8   amphibole by the CTFA Method J4-1 and is intended
     9      Q. Earlier in the deposition, you called the        9   to make the specification wholly consistent with
    10   white paper a "systematic thoughtful review" by       10   the CTFA standard for cosmetic grade talc.
    11   the interagency working group, right?                 11            "However, we need to recognize that
    12      A. Using those terms in normal parlance,           12   Windsor Minerals and Johnson and Johnson have
    13   yes.                                                  13   exercised more extensive controls and testing in
    14      Q. Sure. Okay. So -- I may have already            14   the past than just meeting the J4-1 requirement.
    15   asked this. I apologize. But I got distracted.        15   Furthermore, we intend continuing to surpass the
    16            The story that you give here, the            16   industry standards -- testing as reflected by
    17   chronology ends in 1976, right, with respect to       17   CTFA's J4-1. During the July 15th, 1977 meeting
    18   the Johnson & Johnson and internal company            18   in your office, we had agreed to the need of
    19   documents and testing methods, correct?               19   documenting the entire audit protocol which has
    20      A. In the paragraph you showed me, it does,        20   been your standard operating policy and procedure
    21   yes.                                                  21   since August 1973 and will continue to be
    22      Q. Okay. I just put a two-page document in         22   practised by Windsor Materials for Windsor 66
    23   Chat. And, Doctor, take as long as you want to        23   Talc."
    24   review it. Is this something that you've seen         24            Did I read that correctly?
    25   before? There's a Bates number there at the           25      A. As best I can keep up with it, yes.

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                                                      Page 106                                                   Page 108
     1      Q. Yeah.                                              1   would like?
     2             DR. THOMPSON: Are you marking this             2   BY MR. EWALD:
     3       as an exhibit?                                       3      Q. I would like you first to answer my
     4             MR. EWALD: Yes, I am. That's a                 4   question which is a straightforward "yes" or "no."
     5       good suggestion. We'll mark this as                  5            Were you aware of any -- were you
     6       Exhibit 14.                                          6   aware of anything about Johnson & Johnson's
     7             DR. THOMPSON: And I, as of yet,                7   testing methods and whether or not they exceeded
     8       don't have the relevance of this document            8   the industry J4-1 testing standard?
     9       for his amended report.                              9      A. I have been a- --
    10             MR. EWALD: Okay. I will explain               10            DR. THOMPSON: Object to form.
    11       it after -- I think it's obvious, but               11      A. I have been aware, whether it was, I
    12       we'll continue on.                                  12   think, all for the first report, maybe, you know,
    13   BY MR. EWALD:                                           13   referred to in passing in materials reviewed for
    14      Q. Then it goes on to then state the testing         14   the revised report. I have been aware of
    15   methods. And do you see here test CTFA J4-1 for         15   different moments in Johnson & Johnson's corporate
    16   fibrous amphibole forms; and then serpentine            16   history where it has been more or less attentive
    17   forms, TM 7019; and asbestiform minerals, TM 7024?      17   to the issue of asbestos in its product.
    18             Do you see that there?                        18   BY MR. EWALD:
    19      A. Yes.                                              19      Q. Okay. Are you aware of -- at any
    20             DR. THOMPSON: Could you show the              20   point -- well, are you aware of how often
    21       Bates number on that document?                      21   Johnson & Johnson conducted TEM testing of its
    22             MR. EWALD: I did. Yeah, I read                22   talc with presence of asbestos?
    23       into the records there at the bottom.               23      A. No.
    24             DR. THOMPSON: Okay. Yeah.                     24            DR. THOMPSON: Objection.
    25       This --                                             25   BY MR. EWALD:
                                                      Page 107                                                   Page 109
     1             MR. EWALD: JNJMX68_3592.                       1     Q. Okay. And do you see here on -- the
     2   BY MR. EWALD:                                            2   "Material will be tested for conformance on audit
     3       Q. Going back up to this first paragraph             3   basis, frequencies noted according to sample types
     4   where they're talking about surpassing industry          4   described and tests required"?
     5   testing as reflected in in J4-1, do you know             5            Ground ore. TM 7024 tests. Biweekly
     6   anything about that?                                     6   composite samples by Windsor.
     7       A. I do not know how to answer this                  7            Do you see that?
     8   question. If you want to ask me a question such          8     A. Yes.
     9   as how do I interpret in light of my report this         9     Q. Okay. And flash dried talc, test CTFA
    10   assertion and internal correspondence of Johnson &      10   J4-1, TM 7019, weekly composite samples by J&J,
    11   Johnson's desire to comply with a higher standard       11   correct?
    12   than J4-1, please ask me that question.                 12     A. Yes.
    13             I don't know how to respond to a              13            DR. THOMPSON: Objection. And
    14   question about this document otherwise.                 14       objection to all the questions regarding
    15       Q. Well --                                          15       this document. He's not seen the '78.
    16       A. It's like -- to my knowledge, I'm seeing         16            MR. EWALD: Okay.
    17   it for the first time. I may have seen it before.       17            THE COURT REPORTER: Margaret,
    18       Q. Well, and, you know, my question to you          18       you're getting very garbled, just so you
    19   is: As you sit here today, do you have any              19       know.
    20   knowledge about Johnson & Johnson's testing             20            DR. THOMPSON: Okay. I will try
    21   methods and whether or not they did, in fact,           21       not to garble. I don't know --
    22   exceed industry testing reflected in J4-1?              22            (Speaking simultaneously.)
    23             DR. THOMPSON: Object to form.                 23            MR. EWALD: That's better.
    24       A. You've shown me a document that I'm happy        24            DR. THOMPSON: -- garbley.
    25   to engage with on its face. Is that what you            25            Do I need to repeat anything for

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     1    you?                                                  1      Q. Answer the question, please.
     2         THE COURT REPORTER: Yeah. Go                     2            DR. THOMPSON: I think --
     3    ahead and repeat your objection.                      3            (Speaking simultaneously.)
     4         DR. THOMPSON: The objection was to               4            MR. GOLOMB: Well, except that --
     5    all the questions regarding this document             5       Wait. Wait. Wait. Wait. Wait. Wait.
     6    that Dr. Sage testified that he had not               6            Except that this question was
     7    seen before, and it's dated 1978.                     7       available to him in 2021 when he testified
     8         THE COURT REPORTER: Thank you.                   8       previously. It's not anything that's
     9         DR. THOMPSON: And having relevance               9       updated in the new report.
    10    to his amended report or additional                  10            We've given you a lot of leeway
    11    opinions contained in that report.                   11       here today. So I'll explain the time
    12         MR. EWALD: All right.                           12       frame that you're referring to. If you're
    13 BY MR. EWALD:                                           13       referring to a time period before November
    14   Q. Back to the --                                     14       of 2021 when this deposition was taken
    15         (Speaking simultaneously.)                      15       previously, then we're gonna object.
    16         MR. EWALD: I'm sorry. What?                     16            MR. EWALD: Okay. And your
    17         DR. THOMPSON: I was just asking                 17       objection's noted.
    18    the court reporter if that was any better.           18   BY MR. EWALD:
    19         MR. EWALD: Oh.                                  19      Q. Answer the question.
    20         THE COURT REPORTER: Yes.                        20            DR. THOMPSON: If you know -- have
    21         MR. EWALD: Yes.                                 21       knowledge based on your report.
    22         DR. THOMPSON: Okay. Thank you.                  22      A. I stand -- I stand by my statement in
    23 BY MR. EWALD:                                           23   light of the totality of the information that I
    24   Q. And then just returning to your amended            24   have been presented with and reviewed in the
    25 expert report, I want you to assume, for purposes       25   course of reviewing the original -- preparing the
                                                    Page 111                                                  Page 113
     1   of my question, that in addition to J4-1,              1   original on the amended reports.
     2   Johnson & Johnson tested its talc for presence of      2            It is in my expert experience in
     3   asbestos using TEM.                                    3   regulatory matters, not unusual for corporations,
     4            You with me so far?                           4   to take different positions and different
     5      A. I will assume that it used TEM at some           5   practices over time with respect to risks to the
     6   point. I don't have knowledge, unless you want me      6   public.
     7   to review a lot more information about when it         7            General Motors had one of the early
     8   used transmission microscopy and when it didn't.       8   patents on airbags and was a supporter of airbag
     9      Q. That's fair enough. That's why it's a            9   technology for many years when other auto makers
    10   hypothetical. I'm asking you to assume a              10   were resistant.
    11   hypothetical.                                         11            I notice that J&J in the 1950s had a
    12            Assuming that Johnson & Johnson used         12   patent on corn starch for use in talcum powder --
    13   TEM to test its talc for the presence of asbestos     13   powder products and seemed to be very open to a
    14   in addition to the J4-1 method, is it your opinion    14   reformulation at that time. Subsequently, it
    15   that Johnson & Johnson manipulated asbestos           15   wasn't.
    16   testing in associated publicities, but "none          16            In the 1970s, as we all know, public
    17   detectable" would be interpreted as "none"?           17   attention on asbestos was extreme in many forms,
    18            DR. THOMPSON: Object to form.                18   and corporations of many types appeared to have
    19            MR. GOLOMB: Objection. Can I --              19   made efforts to reassure their consuming public
    20       what is the time frame you're limiting            20   regarding asbestos.
    21       your question to?                                 21            Now, that does not mean that that was
    22            MR. EWALD: His paragraph is not              22   the position throughout Johnson & Johnson
    23       limited to a time frame. So my question           23   corporate history, and I've certainly reviewed
    24       is unlimited time frame.                          24   plenty of information to the contrary.
    25   BY MR. EWALD:                                         25            And, frankly, I was offended in

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     1   preparing the first report by the conclusory           1      Q. Better?
     2   nature by which Johnson & Johnson, on its website,     2            DR. THOMPSON: Sorry, guys.
     3   which constitutes part of its product labeling,        3       Richard walked out for a minute, and I --
     4   was reassuring its mothers and children about the      4       he had it unmuted, but I turned down the
     5   purity and asbestos-free nature of their talcum        5       volume. That should help.
     6   powder products.                                       6            MR. EWALD: All right. That sounds
     7            So I can assume that at some point in         7       better. Sorry about that.
     8   Johnson & Johnson's corporate history, it              8            DR. THOMPSON: Sorry.
     9   attempted to behave responsibly with respect to        9            MR. EWALD: No.
    10   both testing and the use of testing. But I have       10   BY MR. EWALD:
    11   seen nothing to indicate that that was a              11      Q. So the white paper, we went over it, and
    12   consistent practice, and I stand by my opinion.       12   I understand -- well, the testimony will speak for
    13   BY MR. EWALD:                                         13   itself.
    14      Q. Well, so you are assuming that it behaved       14            I want you to assume that -- for
    15   responsibly at some point in time, but you            15   purposes of my question -- that the white paper
    16   haven't -- you don't know how much. That's            16   from December of 2021 is recommending that in
    17   because you have not asked for documentation from     17   order to test for the presence of asbestos in
    18   plaintiffs' counsel as to how frequently Johnson &    18   cosmetic talc, that companies use both TEM and
    19   Johnson tested its talc and in what manner,           19   PLM.
    20   correct?                                              20            Do you have that hypothetical in your
    21            DR. THOMPSON: Object to form.                21   head?
    22      A. As I've said before, anything you would         22            DR. THOMPSON: Object to form.
    23   like to show me I will be happy to review.            23      A. To some extent, yes, but I'm not
    24   BY MR. EWALD:                                         24   following the purpose of the question.
    25      Q. Okay. I've shown you some stuff, and I          25   BY MR. EWALD:
                                                    Page 115                                                   Page 117
     1   have limited time.                                1           Q. Well, that's coming.
     2            I want to know, based on what you        2                  So with that hypothetical, is it your
     3   have reviewed for your deposition today and for   3        opinion that the interagency working group, by
     4   the expert opinions that you are offering, to a   4        recommending testing for the presence of asbestos
     5   reasonable degree of scientific certainty, am I   5        in cosmetic talc by using TEM and PLM, is
     6   correct that you have not reviewed and not        6        manipulating asbestos testing and associating
     7   received from plaintiffs' counsel documents that  7        publicities that "none detectable" would be
     8   indicate how often and in what manner Johnson &   8        interpreted as "none"?
     9   Johnson tested its talc with the presence of      9                  DR. THOMPSON: Object to form as to
    10   asbestos?                                        10            the assumption and as to the relevance to
    11            DR. THOMPSON: Object to form and        11            the amended report.
    12       beyond the scope of his amended report.      12           A. You were quoting a paragraph in my
    13      A. I have not received documents for my       13        original report that was unaltered in the
    14   amended report. I received many documents from my14        amendment.
    15   original report. The details of them I do not    15        BY MR. EWALD:
    16   recall.                                          16           Q. Yes.
    17   BY MR. EWALD:                                    17           A. That is explicitly and, by location, a
    18      Q. Okay. We talked about the white paper      18        summary of material that preceded it, not limited
    19   that you cite in your amended report the first   19        to a single paragraph, and I stand by it.
    20   time, and if -- you know, if you assume,         20           Q. But I didn't ask you about Johnson &
    21   hypothetically, if --                            21        Johnson.
    22      A. One moment. Dealing with an unattended     22                  I said, if FDA is recommending the
    23   computer and an echo.                            23        use of TEM and PLM for testing the presence of
    24      Q. Oh, I'm sorry.                             24        cosmetic talc -- presence of asbestos in cosmetic
    25      A. Try again.                                 25        talc, is it your opinion that the FDA is

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     1   manipulating asbestos testing?                         1             (Exhibit 15 marked.)
     2            DR. THOMPSON: Same objection.                 2     A. Date?
     3      A. That would be a peculiar inference, and I        3   BY MR. EWALD:
     4   don't have a better answer to the question. I          4     Q. 2023 [sic-2022].
     5   don't believe there is a question here as to the       5     A. Okay.
     6   good faith of the post-2019 FDA.                       6     Q. Doctor, is this something you've seen
     7   BY MR. EWALD:                                          7   before?
     8      Q. Is there a question about the good faith         8     A. (Examined exhibit.) No.
     9   of post- -- pre- -- 2019 FDA?                          9     Q. Okay. All right.
    10      A. You're asking me about a 2020 interagency       10             Now I want to go to the GAO report.
    11   working group.                                        11   (Short pause.) Give me just a moment.
    12      Q. I know. I'm asking you --                       12             Okay. My .pdf -- Acrobat crashed
    13      A. I -- I have seen -- as I said, a long           13   earlier, so I had to recover some things.
    14   period of regulatory stasis poses questions to an     14             Okay. The GAO report, which we've
    15   expert on regulatory processes, regulation, and       15   marked as Exhibit 8 --
    16   legislation. So yes, there are questions, as I        16             MR. GOLOMB: What is the date of
    17   said before. The more -- the inferences one draws     17       the report?
    18   are arranged from budgetary considerations to         18             MR. EWALD: The date of the report
    19   industry involvement to several other things.         19       is December 2023. And --
    20            And I have certainly seen enough             20             DR. THOMPSON: What?
    21   material with public and nonpublic in preparing       21             MR. EWALD: I'm sorry? What?
    22   the original report as well as the amendment that     22             DR. THOMPSON: Are we still talking
    23   make me be inter- -- make me quite interested in      23       about Sanchez?
    24   the knowing as much as possible about that            24             MR. EWALD: No.
    25   history.                                              25             DR. THOMPSON: Okay. I don't see
                                                    Page 119                                                 Page 121
     1             I really struggle with your client's      1           anything else in yet.
     2   approach to being forthcoming about the risks it    2                THE WITNESS: We had it as an
     3   just created with its hazardous products.           3           exhibit already. We went back to the GAO
     4      Q. All right. Whoops. I can't share my           4           report.
     5   screen yet. You'll see all my secrets.              5                DR. THOMPSON: Oh, I'm sorry.
     6      A. No worries on that.                           6                (Speaking simultaneously.)
     7      Q. All right. I'm putting in the Chat --         7                MR. EWALD: It's Exhibit -- yes,
     8   all right. Okay, I put in the Chat a scientific     8           yes, so this is the GAO report.
     9   article -- although I didn't give you the -- the    9                DR. THOMPSON: Oh, the GAO. Okay.
    10   way, you know, the lead -- I basically just want   10           I'm sorry.
    11   to know whether you've seen this before. And if    11                MR. EWALD: No worries.
    12   you haven't, maybe it'll be good reading for       12      BY MR. EWALD:
    13   later --                                           13         Q. If we go --
    14      A. Was this Sanchez that -- in this one?        14                MS. PARFITT: Is it Exhibit 8?
    15      Q. Yes.                                         15                MR. EWALD: Yes.
    16      A. Okay.                                        16      BY MR. EWALD:
    17      Q. Okay. First, we mark it. Let's goes          17         Q. If you will go to page 19 -- actually,
    18   through the normal process.                        18      .pdf page 23, but the actual page on the paper
    19             I'm marking as Exhibit 15 an article,    19      version is 19. Let me blow it up here a little
    20   "Environmental Research," from Matthew Sanchez, 20         bit.
    21   amongst others. "Characterization of elongate      21                In this discussion, it talks about,
    22   mineral particles including talc, amphiboles, and  22      you see, Doctor, "In addition, some studies
    23   biopyriboles observed in mineral derived powders: 23       suggest associations between asbestos
    24   Comparisons of analysis of the same talcum powders 24      contamination of talc and negative health
    25   sampled by two laboratories."                      25      effects."

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     1             You see where I'm talking about?              1   to this study, including potential biases inherent
     2      A. Yes.                                              2   inherent in studies of cases for which data were
     3      Q. And it says, "Specifically, one study we          3   collected as part of litigation. Patients'
     4   reviewed suggested the talc used in cosmetics -         4   exposure history was collected in sworn testimony
     5   also known as talcum powder - may sometimes be          5   from patients and patients' families as part of
     6   contaminated with asbestos," and it has a footnote      6   the litigation's and medical-legal review."
     7   cite to -- 47.                                          7            And goes on and -- I'm sorry. I
     8             Do you see that?                              8   guess it should be one more sentence from the
     9      A. Yes.                                              9   text. "This case study in patients with a
    10      Q. If we go down, is -- the cite is to              10   mesothelioma diagnosis found that in 122 of 166
    11   "Jacqueline Moline, Kesha Patel, and Arthur L.         11   cases, the only known exposure to asbestos was
    12   Frank, 'Exposure to cosmetic talc and                  12   from cosmetic talc."
    13   mesothelioma,' Journal of Occupational Medicine        13            That's what it reads in the text,
    14   and Toxicology,'" in 2023.                             14   right?
    15             Do you see that?                             15      A. It does.
    16      A. Yes.                                             16      Q. All right. And do -- in this section of
    17      Q. Have you -- are you familiar with that           17   the GAO report that you put on your Materials
    18   article from Dr. Moline?                               18   Considered list, does -- does it list any article,
    19      A. No.                                              19   other than Moline in 2023, in talking about
    20      Q. Are you familiar with an article that she        20   potential studies suggesting associations between
    21   published on cosmetic talc and mesothelioma in         21   asbestos contamination and talc and negative
    22   2020?                                                  22   health effects?
    23      A. If it had been -- I read several                 23      A. I would have to reread the report to see.
    24   scientific articles on various aspects of health       24   But in my expert opinion, it does not matter
    25   risks from talcum powder, asbestos, and other          25   because my expert review of the GAO report showed
                                                     Page 123                                                  Page 125
     1   things in connection with my first report. I, in    1       that the GAO report's strength was the expertise
     2   fact, requested them of counsel and went            2       brought to bear on compliance with government
     3   through -- I don't know -- 10 or 15 peer-reviewed   3       processes. Its handling of the context and
     4   articles at the time. I would have to look at a     4       science is abbreviated and not particularly
     5   list to know if that was among them.                5       compelling.
     6       Q. And I'm not trying to tread that ground.     6           Q. Correct. At least from what we've looked
     7             But would -- if you had reviewed it,      7       at in Footnotes 47, 48, 49, the only scientific
     8   would it be on your Materials Considered list from  8       article that's included there is the Moline
     9   your first report?                                  9       article, correct?
    10       A. It should have been. Those were all my      10           A. I will take your word for it. What you
    11   articles that were provided on my request by       11       read me, that's the only scientific article. But
    12   counsel.                                           12       as I said before, I don't think anyone would rely
    13       Q. Okay. And the GAO report goes on a          13       on this report for the analysis of the underlying
    14   little bit further in that last paragraph. Starts  14       science. The utility of this report, for my
    15   there in the middle, "However, one study reviewed 15        amendment and the revision, was the FDA's ongoing
    16   suggested that the inhalation of talc contaminated 16       efforts to comply with the Modernization Act, and
    17   with asbestos may be associated with mesothelioma, 17       it's really the second half of the report that
    18   a type of cancer that develops on the thin layer   18       goes to that. The first part of the report is
    19   of tissue that lines the lungs, chest wall, and    19       something I did read, but I did not rely on. It
    20   many internal organs," and it cites to             20       is not that type of expertise.
    21   Footnote 48, right?                                21           Q. After -- at any point in time after your
    22       A. Yes.                                        22       deposition in September of 2021, did you
    23       Q. Okay. And then Footnote 48 is "Moline,      23       communicate with Dr. Longo?
    24   Patel, and Frank." The same article. Goes on to    24           A. No.
    25   state that, "The authors noted several limitations 25           Q. At any point in time after your

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     1   deposition in September of 2021 -- 2021, did you    1              DR. THOMPSON: -- and come back? I
     2   communicate in any way with Dr. Mark Rigler?        2          don't expect to have much, but --
     3      A. No. I'm not sure I remember who that is.      3              MR. EWALD: Sure.
     4   Is that the other author on the report?             4              DR. THOMPSON: -- I want to
     5      Q. He is the author on the Longo report that     5          converse with co-counsel. Thanks.
     6   you had earlier, yes.                               6              MR. EWALD: Sure.
     7             In preparing for today's deposition,      7              DR. THOMPSON: I got it.
     8   did you -- well, let me rephrase the question.      8              THE COURT REPORTER: All right.
     9             In preparing your opinions contained      9          We're off the record at 12:22.
    10   in your amended expert report, did you communicate 10              (A recess was taken from 12:22 p.m. to
    11   with any individuals, apart from plaintiffs'       11               12:25 p.m.)
    12   counsel, about those opinions?                     12              THE COURT REPORTER: Back on the
    13      A. No.                                          13          record at 12:25 p.m.
    14      Q. Approximately how much time did you spend 14                      EXAMINATION
    15   preparing for today's deposition?                  15      BY DR. THOMPSON:
    16      A. Preparing for today's deposition? And        16         Q. Dr. Sage, was there anything that you
    17   I'm not hesitating to answer. I'm trying to think  17      heard in this morning's deposition from counsel,
    18   about it in my mind.                               18      that changes the opinions that you have in your
    19      Q. That's fine.                                 19      previous testimony?
    20      A. I mean, that required looking at what I      20         A. No.
    21   had done before, reading my report, you know,      21         Q. And you stand by the opinions that you've
    22   several times to -- and then rereading the         22      provided in your initial expert report, your
    23   Modernization Act and the cited materials from CRS 23      amended expert report, and these two depositions?
    24   and making sure I had it all in my head. So        24         A. Yes.
    25   probably the answer to that is between 10 and 15   25              DR. THOMPSON: No further
                                                    Page 127                                                   Page 129
     1   hours.                                                 1      questions.
     2      Q. And did you meet with counsel in                 2          MR. EWALD: I have nothing further.
     3   preparation for today's deposition?                    3          MR. GOLOMB: No further questions.
     4      A. Yes.                                             4
     5      Q. And I don't want to know anything about          5          (Following discussion had for
     6   the content of those communications. I just want       6           administrative purposes.)
     7   to know approximately how long those meetings          7
     8   were.                                                  8           THE COURT REPORTER: I have a
     9      A. We probably had an hour to an hour and a         9      couple admin questions for y'all.
    10   half of calls and two hours of face-to-face.          10           Mr. Ewald, would you like a rough
    11      Q. Okay. And who participated -- which             11      draft with your transcript?
    12   counsel participated in those preparation             12           MR. EWALD: Yes, I would. And I
    13   sections?                                             13      believe we can follow the standing order.
    14      A. Dr. Thompson, Mr. Golomb. And that's            14           THE COURT REPORTER: Yes, sir, I
    15   really it. Ms. O'Dell very, very briefly. But it      15      would, but the entire standing order is
    16   wasn't really a part of the preparation.              16      struck-through.
    17             MR. EWALD: Doctor, subject to any           17           MR. EWALD: Well, you can go with
    18       questions that your counsel -- or                 18      it not being struck-through, and I would
    19       plaintiffs' counsel may have, I don't have        19      like the standing order.
    20       any further questions at this time. Thank         20           THE COURT REPORTER: Yes, sir.
    21       you for your time.                                21      That would be a rough draft and regular
    22             THE WITNESS: Thank you so much.             22      delivery of the final transcript.
    23             DR. THOMPSON: Could we just take a          23           MR. EWALD: Yes, ma'am. Correct.
    24       five-minute break --                              24           THE COURT REPORTER: Dr. Thompson,
    25             MR. EWALD: Sure.                            25      I have your standing order down for a

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                                                    Page 130                                                              Page 132
     1     rough draft and regular delivery.        1     I, WILLIAM SAGE, M.D., J.D., have read the
     2           DR. THOMPSON: Yes, ma'am. That is  2 foregoing deposition and hereby affix my signature
     3     correct. Thank you.                      3 that same is true and correct, except as noted
     4           THE COURT REPORTER: And may I send 4 above.
                                                    5                ____________________________
     5     you signature for the witness?
                                                    6                WILLIAM SAGE, M.D., J.D.
     6           DR. THOMPSON: Yes, you can. And
                                                    7
     7     I'll take care of it with the witness.
                                                      THE STATE OF __________)
     8           THE COURT REPORTER: Yes, ma'am.    8
     9           Mr. Golomb, would you like a copy    COUNTY OF _____________)
    10     of the transcript?                       9
    11           MR. GOLOMB: No thank you. I don't 10     Before me, ___________________________, on
    12     need a copy.                            11 this day personally appeared WILLIAM SAGE, M.D.,
    13           THE COURT REPORTER: Yes, sir.     12 J.D., known to me (or proved to me under oath or
    14     Thank you.                              13 through ___________________________) (description
    15           With that, that concludes our     14 of identity card or other document) to be the
    16     deposition today.                       15 person whose name is subscribed to the foregoing
    17                                                         16   instrument and acknowledged to me that they
                                                               17   executed the same for the purposes and
    18          (Remote deposition concluded at
                                                               18   consideration therein expressed.
    19           12:27 p.m., April 1, 2024.)
                                                               19      Given under my hand and seal of office this
    20
                                                               20   __________ day of ________________________, 2024.
    21                                                         21
    22                                                         22
    23                                                         23                ___________________________
    24                                                         24                NOTARY PUBLIC IN AND FOR
    25                                                         25                THE STATE OF _______________
                                                    Page 131                                                              Page 133
    1         CHANGES AND SIGNATURE                             1       IN THE UNITED STATES DISTRICT COURT
    2 WITNESS NAME: WILLIAM SAGE, M.D.                                   FOR THE DISTRICT OF NEW JERSEY
                                                                2
    3 DATE: APRIL 1, 2024
                                                                  IN RE JOHNSON & JOHNSON                 §
    4 PAGE/LINE     CHANGE              REASON                  3 TALCUM POWDER PRODUCTS                     § MDL NO.:
    5 ___________________________________________________         MARKETING, SALES                  §
    6 ___________________________________________________       4 PRACTICES, AND PRODUCTS                  § 16-2738(MAS)(RLS)
    7 ___________________________________________________         LIABILITY LITIGATION               §
    8 ___________________________________________________       5
                                                                6
    9 ___________________________________________________
                                                                7    *******************************************
    10 ___________________________________________________
                                                                8       REMOTE VIDEOCONFERENCED DEPOSITION OF
    11 ___________________________________________________      9            WILLIAM SAGE, M.D.
    12 ___________________________________________________     10              APRIL 1, 2024
    13 ___________________________________________________     11    *******************************************
    14 ___________________________________________________     12
                                                               13           CERTIFIED STENOGRAPHIC
    15 ___________________________________________________
                                                               14         COURT REPORTER'S CERTIFICATE
    16 ___________________________________________________
                                                               15
    17 ___________________________________________________     16     I, Karen L. D. Schoeve, RDR, CRR, RSA,
    18 ___________________________________________________     17 residing in the State of Texas, do hereby certify
    19 ___________________________________________________     18 that the foregoing proceedings were reported
    20 ___________________________________________________     19 remotely by me and that the foregoing transcript
    21 ___________________________________________________     20 constitutes a full, true, and correct transcription
                                                               21 of my stenographic notes, to the best of my ability
    22 ___________________________________________________
                                                               22 and hereby certify to the following:
    23 ___________________________________________________     23     By agreement of all attending attorneys, the
    24 ___________________________________________________     24 witness, WILLIAM SAGE, M.D., was remotely duly
    25 ___________________________________________________     25 sworn by the officer and that the transcript of the

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                                                             Page 134
     1   oral deposition is a true record of the testimony
     2   given by the witness;
     3       That the original deposition was delivered to
     4   John Ewald, custodial attorney;
     5       That a copy of this certificate was served on
     6   all parties and/or the witness shown herein on
     7   __________________________.
     8       I further certify that the signature of the
     9   witness was requested by the witness or a party
    10   before the completion of the deposition and the
    11   signature is to be returned within 30 days from
    12   date of receipt of the transcript.
    13       If returned, the attached Changes and
    14   Signature Page contains any changes and the reasons
    15   therefor.
    16       That pursuant to information given to the
    17   deposition officer at the time said testimony was
    18   taken, the following includes counsel for all
    19   parties of record:
    20
    21   FOR THE MDL PLAINTIFFS:
    22     MARGARET M. THOMPSON, ESQUIRE
           BEASLEY ALLEN, P.C.
    23
         FOR THE PLAINTIFF STEERING COMMITTEE:
    24
           MICHELLE A. PARFITT, ESQUIRE
    25     ASHCRAFT & GEREL
                                                             Page 135
     1 FOR PLAINTIFF NEW JERSEY STATE COURT:
     2    RICHARD GOLOMB, ESQUIRE
          GOLOMB LEGAL
     3
     4 FOR DEFENDANT JOHNSON & JOHNSON:
     5    JOHN EWALD, ESQUIRE
          KING & SPALDING LLP
     6
     7
     8     I further certify that I am neither counsel
     9 for, related to, nor employed by any of the parties
    10 in the action in which this proceeding was taken,
    11 and further that I am not financially or otherwise
    12 interested in the outcome of the action.
    13
    14     Subscribed and sworn to on this the 11th day
    15 of April, 2024.
    16
    17
    18
        <%12597,Signature%>
    19 __________________________________
       Karen L.D. Schoeve, RDR, CRR, RSA
    20 NCRA Exp. Date: 09-30-24
       Litigation Services
    21 Firm Registration No. 726
       3960 Howard Hughes Parkway, Suite 700
    22 Las Vegas, Nevada 89169
       T: 877.370.3777
    23 F: 917.591.5672
    24 Job No. 6485334
    25

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                     Federal Rules of Civil Procedure

                                     Rule 30



         (e) Review By the Witness; Changes.

         (1) Review; Statement of Changes. On request by the

         deponent or a party before the deposition is

         completed, the deponent must be allowed 30 days

         after being notified by the officer that the

         transcript or recording is available in which:

         (A) to review the transcript or recording; and

         (B) if there are changes in form or substance, to

         sign a statement listing the changes and the

         reasons for making them.

         (2) Changes Indicated in the Officer's Certificate.

         The officer must note in the certificate prescribed

         by Rule 30(f)(1) whether a review was requested

         and, if so, must attach any changes the deponent

         makes during the 30-day period.




         DISCLAIMER:    THE FOREGOING FEDERAL PROCEDURE RULES

         ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

         THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

         2019.   PLEASE REFER TO THE APPLICABLE FEDERAL RULES

         OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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          COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

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    transcript of the colloquies, questions and answers

    as submitted by the court reporter. Veritext Legal

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    exhibits, if any, are true, correct and complete

    documents as submitted by the court reporter and/or

    attorneys in relation to this deposition and that

    the documents were processed in accordance with

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